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Bauman, Donald                                          October 25, 2016

                                                                        1
                   UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF WASHINGTON
                            AT SEATTLE
            CIVIL ACTION FILE NO.:      2:14-CV-01884-MJP




     TRACY JAHR, BRENDA THOMAS,
     TIMOTHY LEE YORK, and W. BRETT
     ROARK,


                            Plaintiffs,
           -vs-
     UNITED STATES OF AMERICA,
                         Defendant.
     --------------------------------


                            DEPOSITION OF
                            DONALD BAUMAN


                     Tuesday, October 25, 2016
                      Commencing at 9:00 a.m.
                     Concluding at 11:43 a.m.
                  United States Attorney's Office
                         22 Barnard Street
                     Savannah, Georgia 31401


               Reported by Barbara J. Memory, RPR, CCR




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  1
             APPEARANCES                              1
                                                                   INDEX OF PLAINTIFFS' EXHIBITS
  2
  3
                                                      2
                                                          No.        Description          Page
  4
            BRIAN C. BROOK, ESQUIRE
                                                      3
                                                          Exhibit 33 Bates numbers DA0001 through         76
            Clinton Brook & Peed                      4
                                                                   DA00012
  5
          641 Lexington Avenue, 13th Floor            5
             New York, New York 10022
  6
              212.328.9559
                                                      6
                                                          Exhibit 34 Bates numbers JAHR0043521            78
            Brian@clintonbrook.com                    7
                                                                   through JAHR0043529
  7

        Appearing on behalf of the Plaintiffs
                                                      8
                                                          Exhibit 35 Bates numbers JAHR0043386            81
  8                                                   9
                                                                   through JAHR0043515
  9                                                  10
          KRISTIN B. JOHNSON, ESQUIRE
 10
         Assistant United States Attorney
                                                     11
                                                                        - - -
           U.S. Department of Justice                12
 11
         700 Stewart Street, Suite 5220              13
                                                                 (EXHIBITS RETAINED BY MR. BROOK)
           Seattle, Washington 98101                 14
 12
                206.553.7970
           Kristin.b.johnston@usdoj.gov              15
 13
                                                     16
        Appearing on behalf of the Defendant         17
 14
 15                                                  18
 16
        Also Present: Brenda Thomas, Plaintiff       19
 17
 18                                                  20

 19                                                  21
 20
                                                     22
 21
 22                                                  23
 23                                                  24
 24
                                                     25
 25




                                                 3                                                         5
  1
             INDEX OF EXAMINATIONS                    1
                                                                       DONALD BAUMAN,
  2
                                 Page                 2
                                                              having been produced and first duly sworn,
  3
      DONALD BAUMAN                                   3
                                                                     testified as follows:
  4
        Examination By Mr. Brook                 5    4
                                                                         EXAMINATION
  5                                                   5
                                                          BY MR. BROOK:
  6
                      - - -                           6
                                                              Q. Good morning. Will you please state your
  7                                                   7
                                                          name and spell it for the record?
  8                                                   8
                                                              A. CW4 Donald Bauman, B-A-U-M-A-N.
  9                                                   9
                                                              Q. Have you ever been deposed before?
 10                                                  10
                                                              A. No, sir. First time.
 11                                                  11
                                                              Q. Okay. So I'll start by going over some of
 12                                                  12
                                                          the basics of how this will work.
 13                                                  13
                                                                 Your testimony is under oath.
 14                                                  14
                                                              A. Yes, sir.
 15                                                  15
                                                              Q. You understand what that means, of course.
 16                                                  16
                                                              A. Yes.
 17                                                  17
                                                              Q. Unlike a normal conversation, there's a
 18                                                  18
                                                          court reporter trying to transcribe everything that
 19                                                  19
                                                          we say, so, one of the things that means is it's
 20                                                  20
                                                          important to give verbal answers, like "yes."
 21                                                  21
                                                                 Do you understand?
 22                                                  22
                                                              A. Yes.
 23                                                  23
                                                              Q. Okay. So nodding and "uh-huh" is another
 24                                                  24
                                                          thing that drives them crazy so --
 25                                                  25
                                                              A. Yes.



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                                                                                              3 (Pages 6 to 9)
                                                         6                                                            8
  1
           Q. -- they'll -- she'll probably correct us on      1
                                                                      Q. Did you review any documents in
  2
      that if we go off script.                                2
                                                                   preparation?
  3
               Another problem that sometimes occurs is        3
                                                                      A. Some of the entries that I made we
  4
      talking over each other. For example, I might be         4
                                                                   reviewed.
  5
      still trying to finish a question and you know           5
                                                                      Q. Are you referring to entries in the AAS or
  6
      exactly where I'm going. It's important to try to        6
                                                                   CAS?
  7
      let me finish, assuming I can get there. Okay?           7
                                                                      A. CAS nowadays, yes.
  8
          A. Okay.                                             8
                                                                      Q. Okay. Anything else?
  9
           Q. So I will do the same thing for you.             9
                                                                      A. We briefly looked at a couple of emails,
 10
               It's also important that when I ask you a      10
                                                                   but I don't think there was anything really we saw
 11
      question that you give me a complete answer. That's     11
                                                                   that was relevant to the investigation at hand.
 12
      sort of the whole truth notion. So, for example, if     12
                                                                      Q. Did you bring any documents with you here
 13
      I asked you what you had for breakfast today and you    13
                                                                   today?
 14
      had breakfast -- or you had toast, orange juice and     14
                                                                      A. I did not. We did look at some -- a couple
 15
      bacon and you just said "orange juice," that would      15
                                                                   of AIR entries, Agent's Investigative Reports, also.
 16
      not be a complete answer, although that would still     16
                                                                      Q. Let's go into a little bit about you.
 17
      be technically true.                                    17
                                                                          Where were you born?
 18
          A. Right.                                           18
                                                                      A. Brookings, South Dakota.
 19
           Q. Do you understand that?                         19
                                                                      Q. And where did you grow up?
 20
          A. Yes.                                             20
                                                                      A. I grew up in Brookings, South Dakota. Same
 21
           Q. There may be objections that are made by        21
                                                                   home town until I came in the Army at the age of 17.
 22
      the attorney sitting next to you during the course of   22
                                                                      Q. And what was your first, I guess,
 23
      this deposition. Unless she specifically instructs      23
                                                                   assignment in the Army?
 24
      you not to answer a question, you should go ahead and   24
                                                                      A. First duty assignment I was in aviation. I
 25
      answer the questions to the best of your ability.       25
                                                                   was a helicopter mechanic. My first duty assignment


                                                         7                                                            9
  1
         A. Yes.                                               1
                                                                   was in Fort Lewis, Washington in 1986 to '88.
  2
         Q. If any of my questions, whether objected to        2
                                                                      Q. And how long -- or you said until '88?
  3
      or not, don't make sense to you, or there's something    3
                                                                      A. I was -- I was there 14 months.
  4
      you're not sure about, please ask me to rephrase it.     4
                                                                          And then my second duty assignment was
  5
         A. Okay.                                              5
                                                                   Korea. I was there a little over two years.
  6
         Q. If you answer the question, though, I will         6
                                                                      Q. Where did you go after Korea?
  7
      assume that you understood it. Okay?                     7
                                                                      A. Fort Carson, Colorado. I was there two
  8
         A. Yes.                                               8
                                                                   years.
  9
         Q. Okay. Have you ever given testimony                9
                                                                      Q. What was your responsibility at that time?
 10
      before?                                                 10
                                                                      A. General -- our title was crew chief, but we
 11
         A. Yes, I have testified in court before.            11
                                                                   were just a general helicopter mechanic on the
 12
         Q. And what was that in relation to?                 12
                                                                   aircraft that I worked on, OH58.
 13
         A. Cases I've worked in the past; drug cases,        13
                                                                      Q. At what point did your interests change to
 14
      sexual assault cases mainly.                            14
                                                                   criminal enforcement?
 15
         Q. Have you ever been a party to any type of         15
                                                                      A. I first started interning with CID in 1997.
 16
      lawsuit?                                                16
                                                                   I had an interest about one or two years before that,
 17
         A. No, sir.                                          17
                                                                   but your unit has to give you up for six months for
 18
         Q. Have you ever been arrested?                      18
                                                                   an internship, and it took about one to two years
 19
         A. No.                                               19
                                                                   before I was in a unit that was willing to do that.
 20
         Q. What did you do to prepare for your               20
                                                                   But I started full-time interning with CID in 1997,
 21
      testimony today?                                        21
                                                                   and then at the end of 1998 I went to CID school.
 22
         A. I first became aware of this maybe one to         22
                                                                      Q. Where was that?
 23
      two weeks ago when Ms. Johnson reached out to me.       23
                                                                      A. Fort McClellan, Alabama.
 24
      And so we met yesterday briefly to discuss for two to   24
                                                                      Q. How long did that last?
 25
      three hours. That was the only preparation.             25
                                                                      A. It was about four-and-a-half months.




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                                                                                               4 (Pages 10 to 13)
                                                             10                                                          12
  1
         Q. What did you do after that was up?                     1
                                                                           Q. What do you mean by it was considered as
  2
          A. My first assignment as an agent was in                2
                                                                       that?
  3
      Hawaii. I was on economics crime team for awhile and         3
                                                                           A. Your manning documents will say you're
  4
      then general crimes team. I did that for a little            4
                                                                       authorized four people, but generally you don't
  5
      over one year and then went to Korea where I worked          5
                                                                       always have four. We usually had about two to three
  6
      on a drug team.                                              6
                                                                       at any given time.
  7
          Q. What was your rank at the time that you               7
                                                                           Q. In your experience, was it -- throughout
  8
      first began working for CID?                                 8
                                                                       your career in CID, is it often the case that there
  9
         A. I was a staff sergeant.                                9
                                                                       is less staffing than is authorized?
 10
         Q. And when you were in Korea, what was your             10
                                                                           A. Yes. Usually it's -- I don't want to say
 11
      rank?                                                       11
                                                                       it's just CID. It's more of an Army manning
 12
         A. In Korea I was a sergeant first class, and            12
                                                                       requirements. They usually man at about 80 percent.
 13
      then shortly after that, in 2001, I went to warrant         13
                                                                           Q. So this is something throughout all Army
 14
      officer candidate school.                                   14
                                                                       departments, as far as you know, or...
 15
          Q. How long did that last?                              15
                                                                           A. To my knowledge, yes.
 16
         A. Warrant officer candidate school is seven             16
                                                                           Q. So after Fort McPherson, where did you go?
 17
      weeks, and then the follow-on school, which is -- it        17
                                                                           A. I was back to Korea. I spent three years
 18
      would be more CID specific -- is one month.                 18
                                                                       there. For about one-and-a-half years I was a
 19
         Q. Did that change your rank when you came               19
                                                                       special agent in charge of the Camp Casey CID office,
 20
      out?                                                        20
                                                                       and then the other year-and-a-half I was special
 21
         A. After the seven-week course, warrant                  21
                                                                       agent in charge of a Yongson CID office in Seoul.
 22
      officer school, then you become a warrant officer,          22
                                                                           Q. How large were each of those offices?
 23
      W01.                                                        23
                                                                           A. About 10 to 12 agents each.
 24
          Q. So that replaces sergeant first class?               24
                                                                           Q. And what did you do after Seoul?
 25
         A. Yes. That's enlisted rank. So warrant                 25
                                                                           A. In 2011 I moved to Fort Stewart, Georgia,


                                                             11                                                          13
  1
      officer is an officer rank.                                  1
                                                                       took over the office. I was a special agent in
  2
          Q. So after you finished your warrant officer            2
                                                                       charge there for one year.
  3
      school and the follow-on school, where did you go            3
                                                                          Q. What did you do after that year?
  4
      next?                                                        4
                                                                          A. In 2012 I transferred up to our group
  5
          A. I stayed in Korea for two years. I was the            5
                                                                       headquarters, which is in Hunter Army Airfield in
  6
      drug team chief. And then after that, in 2003 --             6
                                                                       Savannah. My position there was assistant operations
  7
      2003, I went to Carlisle Barracks, Pennsylvania. And         7
                                                                       officer.
  8
      I was stationed there two years as the assistant             8
                                                                           Q. What were the responsibilities of assistant
  9
      special agent in charge, however, one year out of            9
                                                                       operations officer?
 10
      that I was deployed.                                        10
                                                                           A. Mainly quality assurance reviews on -- on
 11
          Q. Where were you deployed to?                          11
                                                                       the cases. Our group headquarters, we have about 40
 12
          A. Afghanistan, Bagram. I was a personal                12
                                                                       subordinate offices between the eastern part of the
 13
      security officer for one of the commanding generals.        13
                                                                       U.S., Europe and deployed, so we conduct quality
 14
          Q. So during that time did you have any role            14
                                                                       assurance reviews on the cases, and then we're kind
 15
      in criminal investigations?                                 15
                                                                       of liaison, if need be, between the office and our
 16
          A. No, sir. Strictly personal security.                 16
                                                                       command headquarters.
 17
          Q. And when did you return from that                    17
                                                                           Q. By "the office," you mean a specific CID
 18
      deployment?                                                 18
                                                                       office?
 19
          A. I returned in early part of 2005. And then           19
                                                                          A. Our subordinate offices, yes.
 20
      mid-2005 I was transferred to Fort McPherson,               20
                                                                          Q. And what did you do after that role?
 21
      Georgia, for three years where I was the special            21
                                                                         A. That's my current position now.
 22
      agent in charge of the office.                              22
                                                                          Q. Okay. But since 2012 you've been deployed
 23
          Q. How big was that CID office?                         23
                                                                       once or twice?
 24
          A. That was considered a three to four-person           24
                                                                          A. Yes, 2014 I was deployed. I was the
 25
      office.                                                     25
                                                                       assistant battalion operations officer on the




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                                                                                             5 (Pages 14 to 17)
                                                        14                                                               16
  1
      deployment.                                              1
                                                                   case file to memorialize my review. And we had
  2
         Q. Where were you deployed to?                        2
                                                                   weekly meetings where we would go over the cases as a
  3
         A. Again, Bagram, Afghanistan.                        3
                                                                   group, and I would also always have day-to-day
  4
         Q. As the battalion operations officer, were          4
                                                                   interaction with my agents on a continual basis
  5
      you doing any criminal investigation work?               5
                                                                   regarding our case.
  6
         A. Not personal investigations, but, again, it        6
                                                                      Q. Is the review in the case file, does that
  7
      was more of a supervisory role, assisting the offices    7
                                                                   always go into the CAS?
  8
      and the agents in charge of the subordinate offices.     8
                                                                      A. Yes.
  9
         Q. And that was in Afghanistan or back here?          9
                                                                      Q. Did you ever communicate via email with any
 10
         A. Well, in Afghanistan and Kuwait, where we         10
                                                                   of the agents in your office?
 11
      had our offices.                                        11
                                                                      A. Not normally -- regarding decisions on a
 12
         Q. And when did you return from your                 12
                                                                   case?
 13
      deployment?                                             13
                                                                      Q. Regarding anything going on in a case.
 14
         A. August of 2014.                                   14
                                                                      A. Well, we'd always send emails back and
 15
         Q. So about how long were you there?                 15
                                                                   forth. But regarding a case, not normally. We were
 16
         A. Eight months.                                     16
                                                                   so close together in the office you could just walk
 17
         Q. And have you been deployed since then?            17
                                                                   down the hall and discuss it in person.
 18
         A. No, sir.                                          18
                                                                      Q. So what kinds of things would you email
 19
         Q. Were you deployed earlier this year?              19
                                                                   about?
 20
         A. I was not.                                        20
                                                                      A. The only thing I can think of case-related
 21
         Q. Can you think of any reason why someone           21
                                                                   would be if we were corresponding with somebody on
 22
      might have been under the impression you were           22
                                                                   the outside, we might CC each other so we were all up
 23
      deployed earlier this year?                             23
                                                                   on the emails that were coming in and out.
 24
         A. In 2014?                                          24
                                                                         I can't really think of any instances where
 25
         Q. Yes, sir.                                         25
                                                                   we would directly just communicate with each other


                                                        15                                                               17
  1
         A. No, sir. I've been on some short TDY trips         1
                                                                   within the office about a case other than talking
  2
      for a week at a time, but never been deployed since      2
                                                                   about it in person.
  3
      2014.                                                    3
                                                                       Q. So by communications with somebody on the
  4
         Q. What does TDY stand for?                           4
                                                                   outside, do you mean outside the CID office?
  5
         A. Temporary duty.                                    5
                                                                       A. Yes.
  6
         Q. Okay.                                              6
                                                                       Q. So if you were to communicate with someone
  7
             MR. BROOK:          Let's go off the record       7
                                                                   in the command structure, would that be by email,
  8
         for a second.                                         8
                                                                   potentially?
  9
             (Whereupon, there was an off-the-record           9
                                                                       A. Potentially, yes, or a phone call.
 10
         discussion.)                                         10
                                                                       Q. And how were communications with the
 11
             (Plaintiff Brenda Thomas enters conference       11
                                                                   medical examiners typically handled? Were those
 12
         room.)                                               12
                                                                   through emails or phone calls?
 13
             MR. BROOK:          Back on the record.          13
                                                                       A. Both. I remember -- I don't remember who
 14
      BY MR. BROOK:                                           14
                                                                   the ME was with AFME's office. It was a female. But
 15
         Q. Okay. I'd like to direct your attention           15
                                                                   I know we had both email and phone conversations.
 16
      back to the time period around 2011 when you got        16
                                                                       Q. What is your understanding of what this
 17
      stationed in Fort Stewart and through the next year.    17
                                                                   case that we're in a deposition here today for is
 18
         A. Yes.                                              18
                                                                   about?
 19
         Q. What ways of communicating did you have           19
                                                                       A. Well, it's regarding the -- Private Aguigui
 20
      with other agents in the CID?                           20
                                                                   and his patriots that killed Ms. York and Mr. Roark
 21
         A. Within my office?                                 21
                                                                   after the death of his wife.
 22
         Q. Yes. Within your office.                          22
                                                                       Q. When did you first learn about this
 23
         A. Well, we had a relatively small office, so        23
                                                                   lawsuit?
 24
      I had day-to-day interaction. When I reviewed their     24
                                                                       A. I was reached out a couple months ago by a
 25
      cases I would put an official review in the -- in the   25
                                                                   captain, I can't remember his name, that emailed




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                                                             18                                                          20
  1
      several people and said if we had any emails or              1
                                                                            Q. What about for a non-death case?
  2
      anything regarding the case at all, to keep it. I            2
                                                                            A. What we call them is the attached exhibits,
  3
      really wasn't aware of anything else until about one         3
                                                                       which would be the CAS -- sorry, not the CAS
  4
      to two weeks ago when Ms. Johnson reached out to me.         4
                                                                       entries -- the AIRs statements; the attached exhibits
  5
         Q. Prior to receiving that email about asking             5
                                                                       that would be used as basically anything that would
  6
      whether you had any emails, had you heard anything           6
                                                                       be submitted in trial. Those were copied and sent to
  7
      about a claim being made relating to the deaths of           7
                                                                       crime records center to be maintained indefinitely.
  8
      Michael Roark or Tiffany York?                               8
                                                                                The case file itself, after adjudication
  9
         A. Not to my recollection. If there was, it               9
                                                                       was completed, if there was, would be maintained for
 10
      wouldn't have been anything that I thought involved         10
                                                                       three years and then destroyed after adjudication.
 11
      me, so I don't recall.                                      11
                                                                            Q. And does adjudication include if there's a
 12
         Q. Now, when you received the email asking if            12
                                                                       decision not to prefer charges?
 13
      you had any emails, did you look to see if you did?         13
                                                                                I'm not sure -- forget my last question.
 14
         A. I did.                                                14
                                                                                If there's ultimately a decision not to
 15
         Q. And did you find anything?                            15
                                                                       prefer charges based on -- based on an open
 16
         A. The only thing I found that I replied back            16
                                                                       investigation, and the investigation closes, how long
 17
      was, I think, some briefings that we had done               17
                                                                       is that case file maintained for?
 18
      throughout the progress of the investigation.               18
                                                                            A. What would happen is we would send, we call
 19
         Q. These were briefings that were sent via
                                                                  19
                                                                       it a 4833, but it's a Commander's Report of
 20
      email to --
                                                                  20
                                                                       Disciplinary Action to a commander. And they would
 21
         A. Yes. They would have been briefing to our
                                                                  21
                                                                       fill it out, and if they chose not to take any
 22
      commanding general.
                                                                  22
                                                                       action, then we would put that in our case file and
 23
         Q. Who was that?
                                                                  23
                                                                       then that would start the three years. But the main
 24
         A. At the time, I believe it was General
                                                                  24
                                                                       copies would -- would still be maintained with the
 25
      Johnson.
                                                                  25
                                                                       crime records center.


                                                             19                                                          21
  1
          Q. And were those emails that were sent before           1
                                                                           Q. Okay. But as far as emails, for example,
  2
      or after the murders of Michael Roark and Tiffany            2
                                                                       those would be only --
  3
      York?                                                        3
                                                                           A. Those would not be maintained permanently.
  4
          A. It would have been after because they would           4
                                                                       They would be maintained for the life of the file,
  5
      be involving the deaths.                                     5
                                                                       but they would be destroyed after the three years.
  6
          Q. Did you find any emails from before                   6
                                                                           Q. Okay. When did you first hear the name
  7
      December 2011?                                               7
                                                                       Isaac Aguigui or Private Aguigui?
  8
          A. No, sir.                                              8
                                                                           A. I arrived at the office at Fort Stewart in
  9
          Q. What is your usual practice as far as                 9
                                                                       September 2011 and we had about a one to two-week
 10
      keeping emails relating to cases that you've had?           10
                                                                       transition period between myself and the special
 11
          A. If they're relevant, they would be copied            11
                                                                       agent in charge that I was replacing. I believe I
 12
      and put in the case file.                                   12
                                                                       took over officially as the agent in charge on the
 13
          Q. Now, does that mean they would be copied             13
                                                                       1st of October in 2011. So within that transition
 14
      into the CAS or is there a separate case file you're        14
                                                                       period, I would have been -- become familiar with his
 15
      referring to?                                               15
                                                                       name. And it was one of the first cases that I
 16
          A. Printed out. We'd print out a copy and put           16
                                                                       reviewed when I came into the office.
 17
      it on the right-hand side of the case file.                 17
                                                                           Q. Did you meet Private Aguigui?
 18
          Q. How long is a case file retained for after           18
                                                                           A. Never met him where I spoke with him. I
 19
      a case is closed?                                           19
                                                                       believe the first time I ever actually -- I did talk
 20
          A. A death case would be -- the original would          20
                                                                       to him on the phone when I had to give him casualty
 21
      be maintained indefinitely. At least it would be            21
                                                                       liaison briefings regarding the death of his wife. I
 22
      retained until all adjudication is completed. But           22
                                                                       don't recall when the first time I ever met him was.
 23
      the CAS entries, statements, things like that, would        23
                                                                       The first one that comes to mind is when we
 24
      be copied, sent to our crime records center, and they       24
                                                                       apprehended him, but I don't recall if I met him
 25
      would be maintained indefinitely.                           25
                                                                       before that.




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                                                                                              7 (Pages 22 to 25)
                                                        22                                                                 24
  1
         Q. When you first heard about Private Aguigui         1
                                                                   would list him as the subject.
  2
      were you aware at that time that he was a suspect in     2
                                                                      Q. Do you recall when that was?
  3
      his wife's murder?                                       3
                                                                      A. Exact day, no. I believe December of 2011.
  4
         A. We wouldn't classify him as a suspect. It          4
                                                                      Q. Was it before or after the deaths of
  5
      would be a person of interest. And throughout the        5
                                                                   Michael Roark and Tiffany York?
  6
      course of reviewing the case, he -- we believed -- we    6
                                                                      A. It was after.
  7
      couldn't rule him out, so we had him as a person of      7
                                                                      Q. Who in the CID office at Fort Stewart do
  8
      interest that we would say, but there was no credible    8
                                                                   you recall discussing the Aguigui case with prior to
  9
      information at the time where we would list him as       9
                                                                   the deaths of Tiffany York and Michael Roark?
 10
      the subject/suspect.                                    10
                                                                      A. I had an Agent Jeremy Foxx at the time, I
 11
         Q. How do you define "credible information"?         11
                                                                   believe was the primary case agent on it. His team
 12
         A. Credible information is sort of a low             12
                                                                   chief was Ms. Ivery-Morris. I don't recall when Mr.
 13
      threshold. It's information that would lead an          13
                                                                   Kapinus came into play, if that was before or after
 14
      investigator to believe that the facts presented are    14
                                                                   those deaths.
 15
      true. So it's a lower threshold than probable cause,    15
                                                                      Q. Is there anyone else?
 16
      which probable cause is a legal determination.          16
                                                                      A. You mean specifically that would have
 17
      Credible information is an administrative or            17
                                                                   worked on the case?
 18
      operational decision.                                   18
                                                                      Q. Yes.
 19
         Q. So that is the standard for listing someone       19
                                                                      A. Because we would have all maybe had
 20
      as a subject of an investigation or --                  20
                                                                   discussions within the office when we discussed our
 21
         A. Credible information would be, yes.               21
                                                                   cases weekly. But I can't think off the top of my
 22
         Q. And that's also called titling someone?           22
                                                                   head who I would have specifically talked to other
 23
         A. Yes.                                              23
                                                                   than the primary agent and the team chief.
 24
         Q. And do you consider the word "suspect" and        24
                                                                      Q. Do you know of any investigators, not
 25
      "subject" to be interchangeable?                        25
                                                                   special agents, who worked on the case?


                                                        23                                                                 25
  1
         A. Yes. While the -- while the case is going          1
                                                                      A. Not that I recall.
  2
      on, if they're in the subject block, they're subject     2
                                                                      Q. Other than the Deirdre Aguigui homicide
  3
      or suspect.                                              3
                                                                   investigation, do you recall any of the other open
  4
          Q. Were there any other persons of interest in       4
                                                                   matters that related to Private Aguigui prior to the
  5
      the Deirdre Aguigui death case?                          5
                                                                   deaths in question?
  6
         A. Her specific case? Not that come to mind.          6
                                                                      A. I don't remember when it was, but after I
  7
      I don't recall, but I don't remember anybody else        7
                                                                   had reviewed that case, it was sometime after. When
  8
      other than Private Aguigui.                              8
                                                                   I came into the office we had about 80 open
  9
          Q. Now, at some point, CID determined that           9
                                                                   investigations at the time with 20 or less agents, so
 10
      there was credible information that he had murdered     10
                                                                   it took a while to -- to know those cases, because
 11
      Deirdre Aguigui, right?                                 11
                                                                   those revolve on a daily basis.
 12
         A. Yes.                                              12
                                                                         But later on, I was made aware of the --
 13
          Q. Do you recall what that new credible             13
                                                                   our drug team had a case where Aguigui had supposedly
 14
      information was?                                        14
                                                                   or alleged to have purchased a weapon to kill a drug
 15
         A. It was several months later. I first              15
                                                                   dealer.
 16
      reviewed the case in October. But everything that       16
                                                                      Q. And what else do you recall about that
 17
      was showing in the case file was more or less           17
                                                                   investigation?
 18
      circumstantial evidence -- autopsy reports,             18
                                                                      A. That one, I'm trying to recall if it was
 19
      toxicology. There was nothing.                          19
                                                                   even still open when I took over. If it was, it was
 20
             And after a while, I had Mr. Kapinus as my       20
                                                                   closed shortly after, so I didn't have as much
 21
      primary case agent on it. He had good knowledge of      21
                                                                   involvement with that case.
 22
      conducting death investigations. But I believe it       22
                                                                      Q. Is conspiracy to commit murder considered a
 23
      was more of just a totality of all the circumstantial   23
                                                                   serious offense by CID?
 24
      evidence that we had at the time that we were able to   24
                                                                      A. Yes.
 25
      gather where we finally made the decision that we       25
                                                                      Q. And as you sit here today, do you recall




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                                                                                             8 (Pages 26 to 29)
                                                             26                                                         28
  1
      what about that case you've thought was coming up            1
                                                                       himself?
  2
      short for purposes of it being something that led to         2
                                                                           A. I believe on that case he did provide a
  3
      charges?                                                     3
                                                                       statement where he said that he purchased a weapon
  4
          A. I don't recall why -- why it was -- I don't           4
                                                                       with an intent to shoot a drug dealer.
  5
      even remember if it was closed as unfounded or if it         5
                                                                           Q. Was that statement shared with members of
  6
      was insufficient evidence, what we used to have as an        6
                                                                       his command?
  7
      option, or if it was a founded. I don't remember how         7
                                                                           A. Whenever a case is closed, we would provide
  8
      it was closed, so I can't tell you if there was a            8
                                                                       the commander with a copy of the entire investigation
  9
      decision by the office or if it was a decision by the        9
                                                                       with all the attached exhibits that would include the
 10
      trial counsel not to take action.                           10
                                                                       sworn statement.
 11
          Q. Can you explain the differences between the          11
                                                                           Q. So prior to it being closed, though, that
 12
      three categories you just mentioned -- founded,             12
                                                                       would not be given; is that right?
 13
      unfounded, and insufficient evidence?                       13
                                                                           A. We could. We're not precluded from sharing
 14
          A. So when you close a case as founded, that            14
                                                                       it with the commander beforehand. I can't tell you
 15
      would mean we've made our coordination with the trial       15
                                                                       specifically when that statement was shared with him
 16
      counsel on the case and it was opined probable cause        16
                                                                       or the trial counsel, but they would eventually
 17
      to believe that the subject committed the offense           17
                                                                       receive -- both receive a copy of that.
 18
      listed, which would be founded.                             18
                                                                           Q. Is it important in the CID offices where
 19
             Unfounded would mean after a review of the           19
                                                                       you're in charge for the agents who are working for
 20
      totality of the investigation, the opined opinion is        20
                                                                       you to close cases in a timely fashion or to work
 21
      that the subject did not commit the crime.                  21
                                                                       towards doing so?
 22
             Insufficient evidence would mean can't make          22
                                                                           A. Yes. Well, without rushing, but yes, in a
 23
      the determination between founded or unfounded; we          23
                                                                       timely fashion, yes, we have -- we have requirements
 24
      just -- we were not able to -- to positively say            24
                                                                       to continue moving on a case until we complete it;
 25
      "yes, founded" or "no, unfounded." It would just be         25
                                                                       however, if there is any outlying action that needs


                                                             27                                                         29
  1
      undetermined.                                                1
                                                                       to be completed, then we would keep it open.
  2
          Q. Is a sworn statement from a suspect a                 2
                                                                           Q. And what sort of incentives or controls do
  3
      source of credible information?                              3
                                                                       you put in place to ensure that cases that have
  4
          A. It can be, yes.                                       4
                                                                       things that are left open to get done actually have
  5
          Q. Okay. If that statement -- let's say a                5
                                                                       those things get done?
  6
      sworn statement is incriminating. Do you consider            6
                                                                           A. So when we have a case, most -- most of the
  7
      that to be credible information in supporting                7
                                                                       cases are assigned to an agent within the office, so
  8
      founding -- finding a charge founded?                        8
                                                                       at least once a month or every two weeks they should
  9
          A. Like I said, possibly. That in and of                 9
                                                                       have a supervisory review. Team chief will generally
 10
      itself may not necessarily give you a credible              10
                                                                       review it and then the assistant agent in charge or
 11
      information by itself. You have to look at the              11
                                                                       the agent in charge will review the case on the other
 12
      totality of the allegation. So depending on what it         12
                                                                       two weeks. So it should have two reviews a month
 13
      is. It could be, yes. But is that the only factor?          13
                                                                       where they're providing guidance to the agent.
 14
      Not necessarily.                                            14
                                                                           Q. What happens to an agent who does not do
 15
          Q. Right. Putting aside coerced confessions             15
                                                                       what a review tells that agent to do, if anything?
 16
      and such like that.                                         16
                                                                           A. Well, it should be followed up on by the
 17
          A. Right.                                               17
                                                                       supervisor, so we'd try to find out what was the
 18
          Q. Any allegations about that.                          18
                                                                       reasoning was, if there's a valid reason. If we tell
 19
              Do you often find that people lie to                19
                                                                       somebody to go out and interview an Individual A, it
 20
      incriminate themselves?                                     20
                                                                       may be that they're not in an area or they're not
 21
          A. Generally, no.                                       21
                                                                       available for a certain amount of time, or it could
 22
          Q. Have you ever seen that happen?                      22
                                                                       be that something else needs to be completed on the
 23
          A. Not that I can recall.                               23
                                                                       case before we can interview that individual. So we
 24
          Q. Do you recall whether Isaac Aguigui had              24
                                                                       would need to discuss it to find out why there was
 25
      signed any sworn statements that incriminated               25
                                                                       a -- a delay.




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                                                                                             9 (Pages 30 to 33)
                                                             30                                                         32
  1
         Q. Okay. And when you find out the reason for             1
                                                                       would try to not be as directly involved unless I
  2
      the delay, is that something that ordinarily goes in         2
                                                                       really needed to. And at the office at Fort Stewart,
  3
      the CAS?                                                     3
                                                                       I don't know of an instance where it got to that
  4
         A. It's not required, but generally if I do a             4
                                                                       serious level where I had to be involved with agents
  5
      review and tell an agent to do certain activity, we          5
                                                                       not doing what they were supposed to be doing.
  6
      may discuss it in person or they could respond in            6
                                                                           Q. Was Agent Kapinus one of those agents who
  7
      their review, their acknowledgment of the review, and        7
                                                                       required more attention?
  8
      describe why it couldn't be done.                            8
                                                                          A. No. I would say not.
  9
             So both ways. It could be documented or it            9
                                                                           Q. Was Agent Foxx an agent like that, who
 10
      could have been just a verbal conversation between          10
                                                                       needed more attention?
 11
      the supervisor and the agent.                               11
                                                                          A. Not that I recall. He was -- I wouldn't
 12
         Q. Have you ever had an agent who did not                12
                                                                       say he was a younger agent, but he was an enlisted
 13
      complete tasks that were assigned and did not have a        13
                                                                       agent, so may not have been to the degree of Mr.
 14
      good reason for failing to do so?                           14
                                                                       Kapinus. But he was definitely not an individual who
 15
         A. Yes.                                                  15
                                                                       directly disobeyed guidance or who needed attention
 16
         Q. When?                                                 16
                                                                       or who needed to be disciplined.
 17
         A. But we -- usually in the military, any time           17
                                                                           Q. Do you recall, particularly after having
 18
      you have a -- somebody of a higher rank that tells a        18
                                                                       reviewed the CAS recently relating to the Aguigui
 19
      subordinate something, that's -- that's considered a        19
                                                                       investigations, whether there were tasks that were
 20
      directive, but doesn't always necessarily need to           20
                                                                       assigned to Agent Foxx that he did not complete in
 21
      mean that there should be some follow-on disciplinary       21
                                                                       a -- within a month or two of the task being assigned
 22
      action. Usually try to get them on line. I mean,            22
                                                                       to him?
 23
      that's the best case scenario, is to get the agent          23
                                                                              MS. JOHNSON:         Objection. Assumes
 24
      working on the case. So, yes, there's usually times         24
                                                                           facts not in evidence.
 25
      when things aren't done.                                    25
                                                                              Let me just put on the record that he did


                                                             31                                                         33
  1
              However, when you look at the totality               1
                                                                          not review that entire CAS.
  2
      of -- of the case load that the agents would have,           2
                                                                               You can answer.
  3
      it's usually because there are other cases that              3
                                                                               THE WITNESS:          The only thing that
  4
      they're working at the same time and not a                   4
                                                                          I -- that I do recall I saw, was there was one
  5
      disrespectful way of not completing the task.                5
                                                                          instance where I think I was on my first review
  6
              Does that make sense?                                6
                                                                          where I provided guidance to conduct canvas
  7
           Q. So you said that there were instances, or            7
                                                                          interviews of Sergeant Aguigui's friends. I
  8
      at least one instance, where you did have someone            8
                                                                          don't know when or if that was -- was followed
  9
      that didn't give you a good reason. What did you do          9
                                                                          up on. But that's the only one that I recall.
 10
      in that instance or instances?                              10
                                                                          However, there were other interviews that were
 11
           A. We'd try to sit down with the soldier or            11
                                                                          done of people that she knew, but I don't
 12
      agent and -- and get him back on track, whether that        12
                                                                          remember that the canvas interview, that we
 13
      meant retraining or additional training or just some        13
                                                                          would call it, of the friends was completed.
 14
      supervisory guidance in the form of a counseling. So        14
                                                                          That's the only one that I recall.
 15
      if it has come down to counseling, sometimes that           15
                                                                       BY MR. BROOK:
 16
      would be written or verbal. But generally we just           16
                                                                          Q. Do you recall whether you informed Agent
 17
      try to keep the agent on track to get the job done.         17
                                                                       Foxx or the team chief for the Deirdre Aguigui
 18
           Q. Did that happen during your tenure at Fort          18
                                                                       investigation that that was to be a priority
 19
      Stewart?                                                    19
                                                                       investigation at some point?
 20
           A. I'm trying to think off the top of my head,         20
                                                                          A. The canvas?
 21
      but it's hard to say. I mean, several agents coming         21
                                                                          Q. I'm sorry. The overall investigation
 22
      in and out of the office, there were some agents that       22
                                                                       relating to the Deirdre Aguigui --
 23
      needed more attention than others and -- but I
                                                                  23
                                                                          A. At one point I appointed Agent Foxx as --
 24
      usually left that up to the team chiefs to take care
                                                                  24
                                                                       well, he was the primary on it. But at one point, I
 25
      of those -- their soldiers. So in that aspect, I
                                                                  25
                                                                       believe that was his only -- only case for a while.



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                                                                                                 10 (Pages 34 to 37)
                                                              34                                                                36
  1
      I don't know if that was before or after the -- the           1
                                                                        Generally that would probably be their -- their
  2
      other murders.                                                2
                                                                        closest friends or the people that they hang out with
  3
          Q. Do you recall Agent Foxx's background,                 3
                                                                        most. But we may take it up higher. We would talk
  4
      whether he was particularly trained with criminal             4
                                                                        to supervisors as well, chain of command. But we
  5
      investigations prior to joining Fort Stewart?                 5
                                                                        would start at a platoon level, and then if need be,
  6
          A. No. I know he was a -- a reserve agent,                6
                                                                        we would take it to an entire company level. But
  7
      but I don't know what his prior background was, no.           7
                                                                        you'll find a lot of platoons don't interact as much,
  8
          Q. Do you recall why you asked Agent Foxx to              8
                                                                        so you'll get most of your information from the
  9
      conduct canvas interviews of Private Aguigui's                9
                                                                        platoon level.
 10
      friends?                                                     10
                                                                                THE COURT REPORTER: "From the platoon
 11
          A. At this time, no. That review was over                11
                                                                           level"?
 12
      five years ago. I don't remember why or what I would         12
                                                                                THE WITNESS:        Platoon level, yes.
 13
      have been thinking at the time.                              13
                                                                                THE COURT REPORTER: Thank you.
 14
          Q. Are canvas interviews something that are              14
                                                                        BY MR. BROOK:
 15
      generally ordered in connection with death                   15
                                                                           Q. Do you recall whether at any point in time
 16
      investigations?                                              16
                                                                        either before or after the deaths of Michael Roark
 17
          A. For most cases we like to do a canvas                 17
                                                                        and Tiffany York there was a canvas done of Isaac
 18
      interview if we believe there was somebody that may          18
                                                                        Aguigui's unit members?
 19
      have seen or heard something. We would try to go to,         19
                                                                           A. I do not recall.
 20
      if there was a scene, to the neighbors, to see if            20
                                                                           Q. Can you think of any reason why that would
 21
      they seen or heard something. And we may try to go           21
                                                                        not be done?
 22
      to friends, family members, and talk to them to see          22
                                                                           A. I know the main body of the unit was
 23
      anything in general, if we can come out with the             23
                                                                        deployed at the time, so Private Aguigui was part of
 24
      mindset of the individual or just anything that might        24
                                                                        a rear detachment, which was a much smaller element.
 25
      help --                                                      25
                                                                        And after the murders, I know there was four


                                                              35                                                                37
  1
         Q. When a soldier is a suspect or person of                1
                                                                        individuals involved, so we didn't know -- we
  2
      interest --                                                   2
                                                                        wouldn't have known what the extent was of who else
  3
         A. Yes.                                                    3
                                                                        would have been involved with that, so we would have
  4
         Q. -- how common is it to conduct a canvas                 4
                                                                        had to have been very careful afterwards about
  5
      interview of other members of that soldier's unit?            5
                                                                        canvassing for the possibility of talking to someone
  6
         A. I would say it's common.                                6
                                                                        who may have been involved with it.
  7
         Q. And why is that done?                                   7
                                                                                Prior to those deaths, no.
  8
         A. Like I said, just do a -- find out what                 8
                                                                           Q. So help me understand. Why would you need
  9
      their demeanor was, if we suspect them of a crime. I          9
                                                                        to be careful about canvassing if there were other
 10
      guess to find out what their demeanor was, if they           10
                                                                        people potentially involved?
 11
      had been -- maybe if they had said something or done         11
                                                                           A. I'm trying to recall back, but if -- if we
 12
      something that may help us tie the elements of the           12
                                                                        have up to four people involved in one unit with
 13
      crime together where we could move that person from a        13
                                                                        deaths, we didn't know what the extent was of anybody
 14
      suspect to a -- to a subject. Just try to put the            14
                                                                        else's involvement. So just asking basic canvas
 15
      pieces together is the main reason.                          15
                                                                        questions may not be harmful, but we didn't want
 16
         Q. The term "unit" has a lot of different                 16
                                                                        to -- wouldn't have wanted to tip anybody off if we
 17
      meanings in the Army, wouldn't you agree?                    17
                                                                        knew anything else.
 18
         A. Yes.                                                   18
                                                                           Q. So how did you go about trying to determine
 19
         Q. When you talk about doing canvas interviews            19
                                                                        whether anyone else was involved with the Isaac
 20
      of a unit or other people in your CAS offices, do you        20
                                                                        Aguigui and other folks who he was committing crimes
 21
      have a sense of what that means in that context, how         21
                                                                        with?
 22
      big a group of people you're talking about?                  22
                                                                           A. Before?
 23
         A. If it was a soldier, if I say -- well, if I            23
                                                                           Q. Talking about now, after the -- the murders
 24
      say "unit," yes, it is a very large meaning. But we          24
                                                                        occurred.
 25
      would start with probably at the platoon level.              25
                                                                           A. After? I have to say I don't recall.




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                                                                                             11 (Pages 38 to 41)
                                                            38                                                              40
  1
      Because at that time it was several agencies                1
                                                                         Q. Do you recall what her articulated concern
  2
      involved -- the GBI, ATF, local sheriff's department        2
                                                                      was?
  3
      was involved, the FBI. So at that point it was              3
                                                                         A. Specifically, no. I know she had concerns
  4
      afterwards the GBI was doing a lot of the -- they did       4
                                                                      that he bought a large number of weapons. I don't
  5
      the main interviews on the -- on the subject                5
                                                                      recall if she had concerns what he was going to do
  6
      interviews. So a lot of it was coordinations between        6
                                                                      with them.
  7
      our agencies, and I just don't recall the subsequent        7
                                                                              His answer was he was going to start up a
  8
      interviews with the friends and who made those -- who       8
                                                                      security business.
  9
      made those determinations.                                  9
                                                                              Specifically what she told them, I do not
 10
         Q. Do you recall whether it turned out that             10
                                                                      know. I never read any statement that she had given
 11
      there were more people involved than just the four         11
                                                                      them.
 12
      who were arrested on December 10th?                        12
                                                                              But I do know the FBI went out and talked
 13
          A. And the one spouse. I don't recall anybody          13
                                                                      to him, and those weapons never -- to my knowledge,
 14
      else that had involvement.                                 14
                                                                      never left the establishment where he purchased them,
 15
          Q. And you're talking about just involvement           15
                                                                      and they concluded that those were all legally
 16
      in the murder itself, correct?                             16
                                                                      purchased.
 17
         A. Correct.                                             17
                                                                         Q. So how did your CID office get involved
 18
         Q. Did you learn about involvement in other             18
                                                                      with that?
 19
      crimes in connection with Isaac Aguigui and a group        19
                                                                         A. When we were notified, we contacted our
 20
      that he had formed that occurred prior to?                 20
                                                                      counterparts at the CID office on Fort Lewis,
 21
         A. That they had already committed?                     21
                                                                      Washington. And I don't remember what their -- what
 22
         Q. Yes.                                                 22
                                                                      the extent of their involvement was because the
 23
         A. The only thing that comes to mind is the             23
                                                                      FBI -- I believe it was part of the joint terrorism
 24
      straw purchases, which the ATF looked at, where he         24
                                                                      task force -- but somebody from the FBI had looked
 25
      was paying some of his friends money to buy weapons        25
                                                                      into it there in the Washington State area and


                                                            39                                                              41
  1
      locally.                                                    1
                                                                      determined that they were legal purchases.
  2
         Q. Do you recall how many guns, give or take,            2
                                                                         Q. Do you know whether the FBI was informed
  3
      that was?                                                   3
                                                                      about the open investigations that your office had on
  4
         A. I do not.                                             4
                                                                      Isaac Aguigui?
  5
         Q. Who was the lead investigator on that?                5
                                                                         A. I don't recall at this time.
  6
      Which agency?                                               6
                                                                         Q. Is that the type of information that would
  7
         A. ATF would have taken that.                            7
                                                                      potentially be shared or is it something that you
  8
         Q. And when did you learn about that                     8
                                                                      were not able to share with another agency?
  9
      investigation?                                              9
                                                                         A. We would be able to share it, but it came
 10
         A. Would have been shortly after the deaths.            10
                                                                      back to legal purchases. It wouldn't have assisted
 11
         Q. Did that investigation begin before the              11
                                                                      or changed their determination that I could see.
 12
      deaths or only after the deaths?                           12
                                                                             MR. BROOK:           Let's go off the record
 13
         A. The illegal straw purchases?                         13
                                                                         a second.
 14
         Q. Yes.                                                 14
                                                                             (Whereupon, there was an off-the-record
 15
         A. I'm not aware of them until after the                15
                                                                         discussion.)
 16
      deaths.                                                    16
                                                                             MR. BROOK:           Back on the record.
 17
         Q. Prior to the deaths did you learn of any             17
                                                                      BY MR. BROOK:
 18
      other agencies outside the Army investigating Isaac        18
                                                                         Q. Okay. Did you ever speak with any of the
 19
      Aguigui?                                                   19
                                                                      Fort Lewis counterparts regarding the gun purchases?
 20
         A. The only one was at one point he went on             20
                                                                         A. I did. I believe -- I don't remember if it
 21
      leave to Washington State and purchased a number of        21
                                                                      was agent in charge or one of the supervisors at the
 22
      weapons up there. And I believe it was one of his          22
                                                                      time, but I know when we were first made aware of it,
 23
      aunts was concerned. And I don't know if she called        23
                                                                      we immediately drove to Aguigui's unit and talked to
 24
      the locals or if she called the FBI, but she called        24
                                                                      his sergeant major, who told us he was on leave at
 25
      someone with concerns that he had purchased weapons.       25
                                                                      the time. We obtained a copy of his leave form and




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                                                                                                12 (Pages 42 to 45)
                                                             42                                                                44
  1
      then we contacted the local CID office. I believe            1
                                                                       specific conversation I don't recall.
  2
      they were the liaison with the FBI there.                    2
                                                                           Q. And who is Colonel Bagwell?
  3
         Q. Was that because there was concern he'd                3
                                                                          A. Colonel Bagwell was the third division
  4
      been AWOL potentially?                                       4
                                                                       staff judge advocate.
  5
         A. No, he was on leave. But we just wanted to             5
                                                                           Q. Was he involved in the Aguigui case at any
  6
      find his location because his leave form would have          6
                                                                       time?
  7
      his location on there.                                       7
                                                                          A. I remember talking to him at least once or
  8
         Q. Who else in your CID office was involved in            8
                                                                       twice. I don't remember when he became involved.
  9
      looking into Aguigui and the gun purchases at that           9
                                                                       I'm pretty sure it was after the two deaths.
 10
      time?                                                       10
                                                                           Q. Is that common for someone at his level of
 11
         A. I don't recall which agent it was.                    11
                                                                       seniority to get involved in a case?
 12
         Q. Do you recall who drove with you to talk to           12
                                                                          A. A normal case, no, but a very high-profile
 13
      Aguigui's sergeant major?                                   13
                                                                       or potentially high-profile case, it's not uncommon
 14
         A. I do not.                                             14
                                                                       for the senior level JAG to be involved, because they
 15
         Q. Outside of CID do you recall who the trial            15
                                                                       would be the direct legal adviser to the commanding
 16
      counsel was regarding the Aguigui matters?                  16
                                                                       general for the installation.
 17
             MS. JOHNSON:        You mean for the State           17
                                                                           Q. So the commanding general would be speaking
 18
         or...                                                    18
                                                                       directly to Colonel Bagwell in this instance?
 19
             THE WITNESS:        You mean on Fort                 19
                                                                          A. They would, yes.
 20
         Stewart?                                                 20
                                                                           Q. Now, do you recall anyone in Aguigui's
 21
      BY MR. BROOK:                                               21
                                                                       command structure that you spoke with about any of
 22
         Q. I mean on Fort Stewart, yes. The SJA.                 22
                                                                       his cases prior to the deaths?
 23
         A. I believe the SJA was Major Greizer,                  23
                                                                          A. I remember the rear detachment batallion
 24
      G-R-E-I-Z-E-R.                                              24
                                                                       commander. I don't recall his name. But I do know
 25
         Q. And does the name Captain Borchardt ring a            25
                                                                       we spoke with him. And when we did make the


                                                             43                                                                45
  1
      bell?                                                        1
                                                                       apprehensions after the deaths, he was directly
  2
          A. I saw the name yesterday. It rings a bell             2
                                                                       involved, because the way we did the apprehensions we
  3
      but I don't remember if he was the trial counsel for         3
                                                                       did it at the unit level so the senior leadership was
  4
      the unit. Major Greizer would have been the senior           4
                                                                       there and we discussed that.
  5
      trial counsel over the -- over the captains. And I           5
                                                                          Q. Does the name Zonie Daniels ring a bell?
  6
      do recall discussing it with him before, but I don't         6
                                                                          A. Zonie Daniels?
  7
      remember as much about Captain Borchardt.                    7
                                                                          Q. Captain Zonie Daniels?
  8
          Q. And when did you discuss Aguigui with Major           8
                                                                          A. I don't recall, no, sir.
  9
      Greizer?                                                     9
                                                                          Q. How about Lieutenant Colonel Hadley?
 10
          A. Well, it would have been a continual basis           10
                                                                          A. It sounds familiar. He may have been the
 11
      because we usually had -- at least every two weeks we       11
                                                                       battalion commander that we talked to. That name
 12
      would have meetings where we would discuss most of          12
                                                                       does sound familiar.
 13
      our open cases. So I don't remember any one specific        13
                                                                          Q. And as of right now you can't think of
 14
      incident where we spoke with him about the case, but        14
                                                                       anyone else?
 15
      it would have been several instances where we would         15
                                                                          A. At the unit?
 16
      have discussed it.                                          16
                                                                          Q. At the command level.
 17
          Q. And this was prior to the deaths of Michael          17
                                                                          A. His command? Other than the sergeant
 18
      Roark and Tiffany York?                                     18
                                                                       major, and I don't remember his name. I only recall
 19
         A. Both. Before and after.                               19
                                                                       that one conversation with him when he was on leave.
 20
         Q. Were those discussions in person or over              20
                                                                          Q. Did you ever speak with anyone from the
 21
      the phone?                                                  21
                                                                       casualty assistance office regarding the Deirdre
 22
          A. Sometimes when we had meetings, the                  22
                                                                       Aguigui investigation?
 23
      bi-weekly meetings, we would do those in person, but        23
                                                                          A. Yes.
 24
      it wouldn't be unusual at all to have a telephone           24
                                                                          Q. And when did that first happen?
 25
      conversation about the case. But, again, any one            25
                                                                          A. I don't recall when. At some point we had




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                                                       46                                                                  48
  1
      a telephone conversation, because I don't believe --     1
                                                                   we did inform them that he was a person of interest
  2
      I don't believe she was local. I think she was out       2
                                                                   in the case.
  3
      of the state, so we had a conversation about the         3
                                                                      Q. Did you look into the possibility of
  4
      monetary payments that were made.                        4
                                                                   pulling the money back or freezing the money?
  5
          Q. Is that before or after the deaths?               5
                                                                      A. I recall that we asked, but I want to say
  6
          A. This was before. After the death of               6
                                                                   it was already paid and by the time -- I wish I knew
  7
      Deirdre obviously.                                       7
                                                                   exact dates because as soon as he received that money
  8
          Q. Right. I'm assuming, since you didn't get         8
                                                                   it was -- it was -- it was being spent. But I don't
  9
      involved before Deirdre Aguigui was killed --            9
                                                                   recall the time frame.
 10
          A. Right.                                           10
                                                                      Q. Did you pull or have someone pull Aguigui's
 11
          Q. -- that when we talk about the deaths,           11
                                                                   financials to see what he was doing with the money?
 12
      we're talking about --                                  12
                                                                      A. One of the agencies had pulled it, and it
 13
          A. Yes, yes.                                        13
                                                                   took us a while before we were able to freeze the
 14
              (Simultaneous speaking.)                        14
                                                                   accounts. I don't believe that was actually
 15
              THE COURT REPORTER: I'm sorry. Y'all            15
                                                                   completed until probably after the first of the year.
 16
          talked over each other.                             16
                                                                   And by that time, there was only about
 17
              "I'm assuming, since you didn't get             17
                                                                   a-hundred-and-some-thousand left in the account. But
 18
          involved before Deirdre Aguigui was killed" and     18
                                                                   I don't remember dates and even months.
 19
          then y'all talked over each other.                  19
                                                                      Q. Do you recall whether you looked into
 20
              MR. BROOK:          December 5th was the        20
                                                                   freezing the accounts before or after the deaths?
 21
          date.                                               21
                                                                      A. I don't recall.
 22
              THE WITNESS:         I don't remember what      22
                                                                      Q. And what was the basis on which the
 23
          he said.                                            23
                                                                   accounts were frozen?
 24
              THE COURT REPORTER: I can only take one         24
                                                                      A. When they were frozen?
 25
          person at a time.                                   25
                                                                      Q. Yes.


                                                       47                                                                  49
  1
      BY MR. BROOK:                                            1
                                                                      A. I'm trying to remember which agency even
  2
         Q. I don't know exactly where we left off, but        2
                                                                   had it done, because that wasn't -- wasn't us, it was
  3
      the point is "the deaths," I'm referring to the          3
                                                                   one of the other agencies that we worked with that
  4
      deaths of Michael Roark and Tiffany York on December     4
                                                                   was able to get that accomplished. And I don't
  5
      5th, 2011?                                               5
                                                                   remember which agency it was, but they were the ones
  6
         A. Yes.                                               6
                                                                   that completed that.
  7
         Q. We've understood this whole time, correct?         7
                                                                      Q. So one of the other agencies, maybe federal
  8
         A. Yes, sir.                                          8
                                                                   or state?
  9
             So I don't recall when I talked to the            9
                                                                      A. Yes.
 10
      casualty assistance on casualty affairs, the            10
                                                                      Q. You're not sure?
 11
      individuals that were responsible for paying the        11
                                                                      A. I don't recall. But one -- it was a joint
 12
      death gratuity and SGLI, but I do recall at least one   12
                                                                   case with several agencies and one of them was able
 13
      phone conversation with them. I believe -- I don't      13
                                                                   to get the accounts frozen.
 14
      remember if I called them, but I believe they reached   14
                                                                      Q. Do you recall the name Sergeant Scott Zipp?
 15
      out to me regarding the payments. And that's when I     15
                                                                      A. Yes.
 16
      was made aware that they had already talked to          16
                                                                      Q. Who was he?
 17
      Mr. Toole before that and the death gratuity had been   17
                                                                      A. Sergeant Zipp was one of Aguigui's
 18
      paid, and informed them that he was still a person of   18
                                                                   supervisors. I don't know if he was a squad leader.
 19
      interest in Sergeant Aguigui's death, and I believe     19
                                                                         He was one of his supervisors who --
 20
      they said that the SGLI had already been paid or was    20
                                                                   Private Aguigui had came to us one day, and he had --
 21
      going to be paid.                                       21
                                                                   I believe he recorded it on his phone after Aguigui
 22
             But at that point, I believe it was too          22
                                                                   had received the money. Sergeant Zipp was trying to
 23
      late to pull the money back. I don't remember what      23
                                                                   get him to make him payments so he could get out of
 24
      month that was, so I don't remember when they paid it   24
                                                                   work. So he brought us a video showing him, I
 25
      and when that had to do with the conversation. But      25
                                                                   believe in a vehicle, asking for money.




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                                                        50                                                               52
  1
         Q. And what did you do when you got that              1
                                                                           Is it fair to say that Isaac Aguigui had a
  2
      video?                                                   2
                                                                   lot of different interactions with CID in different
  3
         A. I don't recall if we worked that under a           3
                                                                   cases?
  4
      separate investigation or if we worked it under the      4
                                                                       A. I'm aware of three -- well, the three where
  5
      death case.                                              5
                                                                   he was a primary in. But in the years I've been with
  6
         Q. But did you work it as a case?                     6
                                                                   CID, I've seen cases where -- where individuals would
  7
         A. I don't recall. I want to say we would             7
                                                                   come multiple times, either subjects or victims or
  8
      have, but I -- I don't recall specifically.              8
                                                                   involved in a case. Definitely more than once;
  9
         Q. If you did not investigate it, is there            9
                                                                   sometimes multiple times. So it's not common, but
 10
      someone else who would have investigated it besides     10
                                                                   it's not highly unusual for -- for someone to get in
 11
      CID?                                                    11
                                                                   trouble and then get in trouble a second or third
 12
         A. Possibly MPI. I honestly don't recall             12
                                                                   time. It's not -- it's not highly unusual, no.
 13
      where that -- where that -- that incident led.          13
                                                                       Q. In some of the other instances where you
 14
         Q. And so as you sit here today, you can't           14
                                                                   recall a soldier coming in multiple times for
 15
      recall any of your agents who were working that case?   15
                                                                   different reasons, what happened to those soldiers?
 16
         A. I don't recall, no.                               16
                                                                       A. Well, disciplinary action, we would always
 17
         Q. Okay. Is that something that you had ever         17
                                                                   investigate, we would always -- we're obligated to
 18
      seen before, where a soldier had, I guess, accused      18
                                                                   initiate investigation whether it's a soldier who
 19
      his supervising officer of, I guess --                  19
                                                                   comes in multiple times for drug allegations or
 20
         A. Extorting money from him?                         20
                                                                   sexual assault allegations on multiple victims.
 21
         Q. Yes.                                              21
                                                                          Our job is to investigate the case and to
 22
         A. That was the first extortion case like that       22
                                                                   make the determination if they met the elements under
 23
      that I've ever seen.                                    23
                                                                   the Uniform Code of Military Justice. We conduct the
 24
         Q. Do you think it had anything to do with the       24
                                                                   investigation itself. But any administrative action
 25
      fact that soldiers don't typically have a ton of        25
                                                                   is the sole responsibility of the unit in


                                                        51                                                               53
  1
      money to give?                                           1
                                                                   coordination with their trial counsel, and we don't
  2
         A. I would say so, yes.                               2
                                                                   have any say in -- in the action that's going to be
  3
         Q. Do you recall approximately how long before        3
                                                                   taken.
  4
      the deaths occurred that you had Aguigui coming in       4
                                                                      Q. Turning back to Private Aguigui, do you
  5
      and trying to get you guys to go after Zipp?             5
                                                                   recall what action his unit wanted to take with
  6
             MS. JOHNSON:         Objection.                   6
                                                                   respect to him prior to the deaths?
  7
         Mischaracterizes his testimony; assumes facts         7
                                                                      A. No. There was -- there would have been
  8
         not in evidence.                                      8
                                                                   discussion between us and -- and the trial counsel
  9
             THE WITNESS:         I do not recall.             9
                                                                   and the -- and his command. But I do know that there
 10
      BY MR. BROOK:                                           10
                                                                   was no chapter because if we were going to have a
 11
         Q. Did -- did Aguigui come to you about the          11
                                                                   positive resolution on the Sergeant Aguigui's death
 12
      Scott Zipp incident?                                    12
                                                                   and he was already out of the Army, it would have
 13
         A. If I recall, yes, he brought his -- his           13
                                                                   been much more difficult for them to call him back,
 14
      phone in with -- with the video. If I remember          14
                                                                   so we wanted to thoroughly investigate the death case
 15
      correctly, that's -- he would have informed us.         15
                                                                   before he was out. But, again, the -- the decision
 16
         Q. What did he want you to do?                       16
                                                                   on that would be between the command and the trial
 17
         A. Well, if he brought it in, then he would          17
                                                                   counsel.
 18
      have wanted us to investigate it. But I just don't      18
                                                                      Q. And do you recall who was making those
 19
      recall how that investigation was handled.              19
                                                                   decisions in the case of Isaac Aguigui?
 20
         Q. Can you recall another soldier who you've         20
                                                                      A. His battalion commander would have been the
 21
      seen pop up so often in CID matters?                    21
                                                                   individual who made the ultimate decision.
 22
             MS. JOHNSON:         Objection. Assumes          22
                                                                      Q. Now, if a battalion commander or another
 23
         facts not in evidence.                               23
                                                                   person who is making a decision about a particular
 24
      BY MR. BROOK:                                           24
                                                                   soldier that's being investigated tells CID they want
 25
         Q. Let me rephrase.                                  25
                                                                   an investigation to be given priority or wrapped up




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                                                              54                                                           56
  1
      quickly, is that something that CID listens to or is          1
                                                                               After he put that entry in, we did have a
  2
      it something that CID has discretion to ignore?               2
                                                                        conversation and explained to him difficulties with
  3
         A. We have our own discretion on how fast                  3
                                                                        this one because of the lack of any physical evidence
  4
      we're going to work a case, work an investigation --          4
                                                                        on Sergeant Aguigui's body and the lack of anything
  5
      that's why we call ourselves a stovepipe                      5
                                                                        in toxicology, the autopsy report was inconclusive.
  6
      organization -- so we don't have to answer to                 6
                                                                        So after we had a conversation, he -- he did agree
  7
      authority over senior commanders who are directly             7
                                                                        that it would have been too soon prior to that to
  8
      involved with the case or may have an interest in it.         8
                                                                        list him as a subject.
  9
            But it's very uncommon for a commander to               9
                                                                            Q. When did that conversation take place?
 10
      try to influence us to -- to close a case quickly.           10
                                                                           A. It would have been within a day or two of
 11
      They usually know when we -- when we brief them, they        11
                                                                        him putting that entry in there.
 12
      know that we have other aspects that we're waiting           12
                                                                           Q. Was it by phone?
 13
      on.                                                          13
                                                                          A. Yes. He was on Fort Benning and I was on
 14
            Like in this case, it took us a long time              14
                                                                        Fort Stewart.
 15
      to get the autopsy and toxicology results and                15
                                                                           Q. Was anyone else on the phone call?
 16
      coordinations with AFME's office and things like             16
                                                                          A. No. It was just me and him.
 17
      that. So there's other aspects beyond our control --         17
                                                                          Q. About how long did it last?
 18
      laboratory analysis. There's simply we -- we have no         18
                                                                            A. I don't recall. I do remember -- I do
 19
      control over it.                                             19
                                                                        remember us having the conversation, and I explained
 20
         Q. In your experience how long does it                    20
                                                                        to him the difficulties and -- and why it took that
 21
      typically take to get a laboratory analysis completed        21
                                                                        long to reach the credible information standard, but
 22
      and results back?                                            22
                                                                        I don't remember the time length in the phone call.
 23
         A. That's a very difficult question to answer.            23
                                                                            Q. Do you recall whether you personally
 24
      It depends on what type of -- I don't remember what          24
                                                                        reviewed the autopsy photos of Deirdre Aguigui's body
 25
      the going time frame was back in 2011. But if we had         25
                                                                        at that point?


                                                              55                                                           57
  1
      sent it to our lab, DNA analysis can sometimes take           1
                                                                           A. I remember some photos, but I don't
  2
      months. AFME's office, if they're waiting on                  2
                                                                        remember if they were the autopsy or the death scene
  3
      toxicology, that's their timeline. But it can be              3
                                                                        photos. I don't remember.
  4
      into the months.                                              4
                                                                           Q. Okay. So the death scene photos you would
  5
         Q. Who is Larry Turso?                                     5
                                                                        have seen?
  6
         A. Larry Turso, at the time, for a brief                   6
                                                                           A. I would have seen those, yes.
  7
      period was the battalion's operations officer that            7
                                                                           Q. Do you recall what the condition of Deirdre
  8
      our officer fell under.                                       8
                                                                        Aguigui's body was in terms of whether there were any
  9
         Q. So was that essentially the position that               9
                                                                        bruises or abrasions?
 10
      you currently hold?                                          10
                                                                           A. I do recall seeing some slight bruises on
 11
         A. He was at a battalion level. I'm at a                  11
                                                                        her wrists. I believe there was a slight abrasion
 12
      group level. So the battalion would have had about           12
                                                                        under her lip. I don't recall any other that stand
 13
      five subordinate officers underneath him that he             13
                                                                        out for abrasions or -- or bruises to her body.
 14
      would have managed. He would have been the                   14
                                                                           Q. So a moment ago you said there was lack of
 15
      operations officer over those five offices. So at            15
                                                                        any physical evidence. There was some physical
 16
      that time the Fort Stewart office fell under the             16
                                                                        evidence, though, if there were bruises on her
 17
      Benning battalion, which Larry Turso was the                 17
                                                                        wrists, correct?
 18
      operations officer for that battalion.                       18
                                                                           A. Yes. There was bruises. There was mild
 19
         Q. Do you recall whether he had any                       19
                                                                        bruising on her wrists and the lip. But to reach the
 20
      involvement in the Aguigui cases?                            20
                                                                        credible information standard -- I guess what I meant
 21
         A. I do recall his one -- one CAS entry that              21
                                                                        was, to reach credible information standard, we
 22
      we reviewed. He put an entry in there. And I forget          22
                                                                        didn't have that for -- for a death.
 23
      what his exact wording was, but at the time when he          23
                                                                               MR. BROOK:           Now would be a good
 24
      put his review in, he felt that we had met the               24
                                                                           time to take a break, I guess. We've been
 25
      credible information standard prior to that.                 25
                                                                           going for an hour and 45 minutes.




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                                                       58                                                                  60
  1
             MS. JOHNSON:        How much longer do you        1
                                                                   interviews that were conducted by individuals that
  2
          have?                                                2
                                                                   had said he had joked about that. I don't know if
  3
             MR. BROOK:        Probably about 45               3
                                                                   the quote was coming into money soon, but I believe
  4
         minutes.                                              4
                                                                   there was at least one person that said they joked,
  5
             (Recess, 10:47 a.m.)                              5
                                                                   maybe I'll just kill my wife and get the insurance
  6
             (Reconvened, 11:01 a.m.)                          6
                                                                   money, something to that effect. But I don't
  7
             MR. BROOK:        Back on the record.             7
                                                                   remember him ever saying it was going to happen and
  8
      BY MR. BROOK:                                            8
                                                                   it was going to be soon.
  9
         Q. I want to show you what's been previously          9
                                                                       Q. And at the time do you know whether
 10
      marked as Exhibit 13. This is the CAS for the           10
                                                                   Aguigui's text messages had been retrieved from his
 11
      Deirdre Aguigui homicide (tenders document) .           11
                                                                   phone?
 12
             Do you recognize this?                           12
                                                                          MS. JOHNSON:          I'm sorry. What was
 13
         A. Yes.                                              13
                                                                       that?
 14
         Q. Okay. If you could please flip to Page 56         14
                                                                   BY MR. BROOK:
 15
      of 187.                                                 15
                                                                       Q. At the time do you know whether Aguigui's
 16
         A. (Witness complies with the request of             16
                                                                   text messages had been retrieved from his cell phone?
 17
      counsel).                                               17
                                                                      A. I do not recall.
 18
         Q. And there in the middle of the page it            18
                                                                      Q. As you sit here today, do you recall
 19
      appears to be an entry by you dated October 9th,        19
                                                                   whether any of the text messages on Aguigui's cell
 20
      2011; is that right?                                    20
                                                                   phone were incriminating?
 21
         A. Yes.                                              21
                                                                          MS. JOHNSON:         Objection as to form.
 22
         Q. Do you remember making this entry?                22
                                                                          THE WITNESS:         I don't recall.
 23
         A. Yes.                                              23
                                                                   BY MR. BROOK:
 24
         Q. And why did you put this entry in?                24
                                                                      Q. Item No. 3, you said that you wanted her
 25
         A. It was a standard review. When I took over        25
                                                                   close friends interviewed, quote, "Don't hold off any


                                                       59                                                                  61
  1
      the office, I tried to review all the cases. And         1
                                                                   further on the canvas interviews; get them
  2
      then a supervisory review should be documented with      2
                                                                   completed," end quote.
  3
      the guidance for the agents for what they need to        3
                                                                          Is this the same canvas interviews you
  4
      continue with. So this would be a standard               4
                                                                   referred to earlier in your testimony today?
  5
      supervisory review that I put in the case.               5
                                                                       A. Yes, it would be.
  6
          Q. Okay. And you stated, quote, "I have some         6
                                                                       Q. Okay. And, to your knowledge, these canvas
  7
      concerns over her death."                                7
                                                                   interviews were not completed prior to the deaths of
  8
          A. Yes.                                              8
                                                                   Michael Roark and Tiffany York; is that right?
  9
          Q. Is it correct that -- did you list all of         9
                                                                       A. I don't recall when they were, if they were
 10
      your concerns in this statement or did you have other   10
                                                                   completed.
 11
      concerns as well?                                       11
                                                                       Q. Looking at Item No. 9, you said that you
 12
          A. To the best of my recollection, I would          12
                                                                   wanted to -- I'll just quote it -- quote, "I want you
 13
      have put anything that I thought needed to be           13
                                                                   to prepare a timeline surrounding her death,
 14
      addressed in there, yes.                                14
                                                                   specifically the day of and the day prior to her
 15
          Q. Were you aware at that time that Aguigui         15
                                                                   death. Make sure everything known in" -- and I
 16
      had made statements to witnesses prior to Deirdre       16
                                                                   assume that means "is annotated" -- "i.e., his
 17
      Aguigui's death indicating that he was going to come    17
                                                                   locations, her locations, time of phone calls and
 18
      into some money soon?                                   18
                                                                   texts, et cetera."
 19
             MS. JOHNSON:           Objection. Assumes        19
                                                                       A. Yes.
 20
          facts not in evidence.                              20
                                                                       Q. Why was this important to you?
 21
             THE WITNESS:           I don't recall.           21
                                                                       A. I believe -- I don't remember what day --
 22
      BY MR. BROOK:                                           22
                                                                   there was a day when he went to South Carolina. I
 23
          Q. As you sit here today, do you recall             23
                                                                   believe that was the day prior to he went to South
 24
      whether such statements had been made by Aguigui?       24
                                                                   Carolina and came back. And I wanted to put just --
 25
          A. I don't remember how many. There was             25
                                                                   it's common for us to do a timeline of just as close



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                                                                                              17 (Pages 62 to 65)
                                                              62                                                           64
  1
      as we can minute by minute of the actions leading up          1
                                                                             Q. Okay. But is it correct that you're
  2
      to the death. So we wanted to find out where his              2
                                                                        telling Agent Foxx to go find out what that reason
  3
      whereabouts was leading up to that.                           3
                                                                        was?
  4
             And I believe he had just returned back                4
                                                                            A. Yes.
  5
      from South Carolina just prior to her death, so I was         5
                                                                             Q. Do you know whether he found out what that
  6
      trying to -- and there was -- now that I read this,           6
                                                                        reason was?
  7
      there was either text or phone calls between them two         7
                                                                            A. I don't recall.
  8
      back and forth while he was -- while he was in South          8
                                                                             Q. As you sit here today, you don't know what
  9
      Carolina.                                                     9
                                                                        that reason was?
 10
          Q. And who are you speaking to here when you             10
                                                                            A. I don't remember what the specific reason
 11
      say "I want you to prepare a timeline"?                      11
                                                                        they were released was, no.
 12
          A. This would be the primary case agent, which           12
                                                                             Q. Okay. Do you believe that you learned at
 13
      would have been Agent Foxx at the time.                      13
                                                                        some point in time what the reason for his discharge
 14
          Q. Going right back up to Item No. 8 that                14
                                                                        was?
 15
      says, quote, "Where are all the extractions of the           15
                                                                            A. I don't want to say I don't recall. I know
 16
      cell phones and memory cards? Get them on a CD and           16
                                                                        there was coordination with West Point eventually,
 17
      post it to the file," end quote.                             17
                                                                        but I don't remember what the outcome was.
 18
             So does that refresh your recollection at             18
                                                                             Q. Would it have been significant to you if he
 19
      all about whether you were aware of any text messages        19
                                                                        was discharged for threatening the life of a fellow
 20
      at that time?                                                20
                                                                        cadet?
 21
         A. It honestly doesn't, but it would tell me              21
                                                                            A. Yes.
 22
      that I read something to where it said that -- that          22
                                                                             Q. Okay. Would it be even more significant if
 23
      we did have cell phones and memory cards. But to the         23
                                                                        he had threatened the life of two cadets at West
 24
      best of my memory, I don't recall when we collected          24
                                                                        Point?
 25
      phones and memory cards.                                     25
                                                                            A. I would say it would be significant, yes.


                                                              63                                                           65
  1
         Q. Item No. 11, you said, quote, "Coordinate               1
                                                                           Q. What is the "IP"?
  2
      with West Point and determine why they were both              2
                                                                           A. Investigative plan.
  3
      released. Did she voluntarily leave because he was            3
                                                                           Q. Where is the IP kept for a case?
  4
      released? Was he released because he refused to turn          4
                                                                            A. So in the case file you have a left and
  5
      in his friends for drinking," end quote.                      5
                                                                        right side when you open it up and, on top of the
  6
             Do you recall what that was about?                     6
                                                                        left side would be the investigative plan. That
  7
         A. Briefly. What we were told at the time was              7
                                                                        would be basically your to-do list.
  8
      they had met each other at West Point and he was              8
                                                                            Q. And as items are completed on the IP and
  9
      released from the academy for some type of                    9
                                                                        the IP gets updated, do some items that have already
 10
      disciplinary action. And what we were told was she           10
                                                                        been completed get lost from the file?
 11
      left voluntarily to go with him, and we wanted to            11
                                                                           A. Lost?
 12
      clarify if she, in fact, left voluntarily or if she          12
                                                                           Q. Yes. Or, well, another way to put it is,
 13
      was released for some sort of other reasons.                 13
                                                                        are the old IPs ever discarded as the case
 14
            Any other -- I don't recall any other                  14
                                                                        progresses?
 15
      reasons. That's what comes to mind as to why they --         15
                                                                            A. Not to my knowledge. Normally what we do
 16
      why they left, if it was disciplinary or other.              16
                                                                        is we'll have a running IP and when items are
 17
         Q. And is it correct that you were questioning            17
                                                                        completed on there, they put the date they're
 18
      whether Aguigui's story about refusing to turn in his        18
                                                                        completed. But then when that's done, they should go
 19
      friends for drinking, if that was the correct reason         19
                                                                        to the bottom and they would stay with the file.
 20
      for which he was discharged from West Point?                 20
                                                                            Q. So when you gave these instructions to
 21
         A. I don't recall what the conclusion was why             21
                                                                        Agent Foxx, was your expectation that he would add
 22
      he was released, because I remember there was also an        22
                                                                        them to the IP to get them done?
 23
      allegation of some sexual misconduct. But I don't            23
                                                                           A. Normally, yes.
 24
      recall what the reason was that he was -- was                24
                                                                           Q. Do you know whether he added them to the
 25
      released.                                                    25
                                                                        IP?




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                                                                                           18 (Pages 66 to 69)
                                                             66                                                         68
  1
          A. I don't recall.                                       1
                                                                       common, quarterly inspection of the office, and they
  2
          Q. And would you please flip to Page 59 of               2
                                                                       would pull a certain number of files to review. But
  3
      187?                                                         3
                                                                       as a forensic science officer, he would be
  4
          A. (Witness complies with the request of                 4
                                                                       responsible for conducting a review of all death
  5
      counsel).                                                    5
                                                                       investigations. So it looks like he was just putting
  6
          Q. The second entry here, it says "TC Review"            6
                                                                       his comment in here.
  7
      and it's by Cassandra Ivery.                                 7
                                                                              Yes, this would be a standard review
  8
          A. Yes.                                                  8
                                                                       comment.
  9
          Q. Did you earlier refer to her as                       9
                                                                          Q. And one of the things that references is
 10
      Ms. Ivery-Morris?                                           10
                                                                       that there was a face-to-face review with SA Ivery --
 11
          A. Her name is hyphenated.                              11
                                                                          A. Yes, sir.
 12
          Q. Okay.                                                12
                                                                          Q. -- and, quote, "discussed her concerns."
 13
          A. In here it's Ivery, but it's Ivery-Morris.           13
                                                                              Do you recall what those concerns were?
 14
          Q. Same person?                                         14
                                                                          A. No, sir, I do not.
 15
          A. Same person, yes.                                    15
                                                                          Q. I think you indicated that "FSO" stands for
 16
          Q. Okay. And this is how long after your                16
                                                                       forensic science officer?
 17
      entry?                                                      17
                                                                          A. Yes.
 18
          A. Two weeks roughly? The 9th to the 24th.              18
                                                                          Q. What does "BN" stand for?
 19
          Q. And here -- well, I guess the first                  19
                                                                          A. Battalion.
 20
      instruction is "Add all leads identified by last SAC        20
                                                                          Q. And "SAV"?
 21
      review to the IP."                                          21
                                                                          A. Staff assistance visit, which would be the
 22
             So is it fair to infer that at that point            22
                                                                       quarterly visits where they go to each office and
 23
      in time the IP had not been updated with your               23
                                                                       pull a certain number of files.
 24
      instructions?                                               24
                                                                          Q. Okay. And "ICI"?
 25
          A. It's --                                              25
                                                                          A. Initial command inspection. So when I took


                                                             67                                                         69
  1
             MS. JOHNSON:        Objection.                        1
                                                                       over in October, as a new agent in charge for
  2
             THE WITNESS:        -- really hard to say.            2
                                                                       detachment commander, within the first 90 days, your
  3
      BY MR. BROOK:                                                3
                                                                       higher headquarters, which would be the battalion,
  4
         Q. In your experience, do your team chiefs                4
                                                                       comes and does an initial command inspection. They
  5
      give instructions about what to add to the IP before         5
                                                                       do an overall look at your unit, and then within one
  6
      looking at the IP?                                           6
                                                                       year, they will do a subsequent inspection to see if
  7
          A. No. It's hard to say if he didn't put any             7
                                                                       you've progressed or went the other way.
  8
      of them on the IP or only a number of them.                  8
                                                                              So this would have been an initial command
  9
          Q. Understood.                                           9
                                                                       inspection of me at the office.
 10
             Please turn to Page 64.                              10
                                                                           Q. And about a year later you got promoted,
 11
        A. (Witness complies with the request of                  11
                                                                       right?
 12
      counsel).                                                   12
                                                                          A. No, sir. I -- I came here as a CW4.
 13
        Q. The first entry there is by Darren.                    13
                                                                          Q. You just moved to a different position?
 14
         A. Succone.                                              14
                                                                          A. Yes. Position move, yeah.
 15
         Q. Who is Darren Succone?                                15
                                                                           Q. But is your current position supervisory of
 16
         A. He was our battalion forensic science                 16
                                                                       the current SAC at the Fort Stewart base?
 17
      officer, so he would have been out of Fort Benning at       17
                                                                          A. So now we're at a group level, so we would
 18
      the battalion.                                              18
                                                                       be over the battalion who supervises the office. So
 19
          Q. And what was he doing here at this entry?            19
                                                                       technically we're over 40 offices. But I wouldn't
 20
         A. I have to read it (reading document).                 20
                                                                       say it's direct supervisory guidance. We do conduct
 21
           I'm sorry. The question again?                         21
                                                                       our own inspections down to the office level, but our
 22
         Q. What was the purpose of this entry?                   22
                                                                       role is more now quality assurance reviews. But we
 23
         A. If they did a face-to-face interview, I               23
                                                                       will provide guidance needed, but it's more holistic
 24
      would assume that they had probably come down for a         24
                                                                       quality assurance reviews than looking for systematic
 25
      face-to-face inspection of the office, which is             25
                                                                       problems.




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                                                                                        19 (Pages 70 to 73)
                                                        70                                                              72
  1
          Q. So when you do a quality assurance review,        1
                                                                       A. That would have changed the outcome of
  2
      you're not telling someone what to do, you're giving     2
                                                                   anything that occurred, I do not.
  3
      them advice; is that fair to say?                        3
                                                                       Q. And, again, that's based on not having done
  4
          A. We can -- are you talking about my position       4
                                                                   a review, though, correct?
  5
      now?                                                     5
                                                                       A. Correct.
  6
          Q. Yes.                                              6
                                                                       Q. Have you talked with anyone aside from the
  7
          A. So my position now is we generally review a       7
                                                                   lawyer sitting next to you about whether CID did
  8
      case after it's been completed. So then we'll --         8
                                                                   anything right or wrong in connection with any of the
  9
      we'll look at it after the whole thing has been          9
                                                                   Aguigui investigations?
 10
      final, or closed, and then we'll do a complete review   10
                                                                       A. No.
 11
      of the whole case and conduct a quality assurance       11
                                                                       Q. Turning to Page 77 of this Exhibit 13.
 12
      review and provide guidance. If it does need to be      12
                                                                       A. (Witness complies with the request of
 13
      reopened, we'll direct down through the battalion       13
                                                                   counsel).
 14
      through the office that they would need to reopen it.   14
                                                                       Q. Rather, 75 to 77. This is the entry by
 15
      What we generally concentrate on is the -- what we      15
                                                                   Larry Turso that you had referred to earlier.
 16
      talked about before, with the unfounded cases, to see   16
                                                                       A. Okay.
 17
      if there's anything that was missed. That's our main    17
                                                                       Q. I want to direct your attention to the line
 18
      concern.                                                18
                                                                   at the bottom of Page 76 and the first line on the
 19
          Q. Was a quality assurance review ever              19
                                                                   top of Page 77. It says, quote, "Good call by
 20
      conducted on any of the cases involving Isaac           20
                                                                   Mr. Toole on delaying payment. How did we screw this
 21
      Aguigui?                                                21
                                                                   up? Perhaps we need to look into freezing his
 22
          A. Well, battalion reviews are quality              22
                                                                   accounts."
 23
      assurance reviews, yes. And when Mr. Turso did a        23
                                                                          Do you recall this statement?
 24
      review, that would be -- in a sense it's a quality      24
                                                                       A. I don't specifically recall this, but I can
 25
      assurance review. It's a supervisory review. It is      25
                                                                   discuss it.


                                                        71                                                              73
  1
      above our level, so it's -- yes.                         1
                                                                       Q. Do you know whether this was something that
  2
          Q. Besides Mr. Turso's review and the phone          2
                                                                   you or anyone in your office responded to try to look
  3
      call that you had with him afterwards, was there any     3
                                                                   into answering Mr. Turso's question?
  4
      other quality assurance review conducted on any of       4
                                                                      A. This was in November -- or December.
  5
      these cases?                                             5
                                                                   Sorry. So to the best of my recollection, we did,
  6
          A. I don't recall off the top of my head;            6
                                                                   but it was the other agency who was able to
  7
      however, at one point, I believe it was May of 2012,     7
                                                                   successfully get the accounts frozen. But I don't
  8
      where we had a -- a shift within CID so we no            8
                                                                   remember which agency that was.
  9
      longer -- in May, we no longer fell under the Benning    9
                                                                      Q. As far as his first question, was regarding
 10
      battalion. In May we fell under the Fort Bragg          10
                                                                   delaying payment, he asked, "How did we screw this
 11
      battalion, so that would have been under a different    11
                                                                   up?"
 12
      battalion operations officer.                           12
                                                                          Is that something that you looked into or
 13
          Q. Have you at any point in time in the last        13
                                                                   had someone look into?
 14
      several years taken a look back at any of the           14
                                                                      A. I had spoken with Mr. Toole regarding his
 15
      Aguigui-related cases, based on your experience now     15
                                                                   conversation with the CAO, and I remember my
 16
      in reviewing other people's cases, and tried to         16
                                                                   conversation with the CAO where we said he was a
 17
      assess what went wrong here?                            17
                                                                   person of interest. And that would be a call for an
 18
          A. I have --                                        18
                                                                   answer that the CAO needs to address. But I do know
 19
             MS. JOHNSON:          Objection.                 19
                                                                   when I had my conversation with the CAO, we did
 20
          Mischaracterizes the evidence.                      20
                                                                   advise that he was a person of interest. But we have
 21
             THE WITNESS:          I have not looked at       21
                                                                   no say in whether a death gratuity or the SGLI gets
 22
          the case.                                           22
                                                                   paid. We have no call in that whatsoever.
 23
      BY MR. BROOK:                                           23
                                                                      Q. You do have an information-providing role,
 24
          Q. Do you think that CID made any mistakes in       24
                                                                   though, in those decisions?
 25
      connection with any of the Aguigui investigations?      25
                                                                      A. Yes. We -- we were able to tell them he




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                                                                                                  20 (Pages 74 to 77)
                                                              74                                                              76
  1
      was a person of interest. But the decision to make            1
                                                                        files and they added an annotated where Mr. Toole had
  2
      payment would not be on us. And we can --                     2
                                                                        said was not a person of interest. And we discussed
  3
         Q. And when did -- sorry.                                  3
                                                                        that and I said, no, he had always been. So that's
  4
         A. We can -- we can tell them, at least,                   4
                                                                        the extent of the conversation that I recall.
  5
      that -- if he was a subject or a person of interest,          5
                                                                           Q. Are you aware of whether Private Aguigui
  6
      in which we could tell he was a person of interest at         6
                                                                        ever claimed to have corrupted a CID agent?
  7
      the time.                                                     7
                                                                           A. I don't recall that.
  8
         Q. And, to your knowledge, was Private Aguigui             8
                                                                           Q. You don't recall whether --
  9
      at any time not a person of interest in his wife's            9
                                                                           A. I don't recall hearing that.
 10
      death?                                                       10
                                                                           Q. Is that something that you would have
 11
         A. To my knowledge he was always a person of              11
                                                                        responded to and investigated if you had heard
 12
      interest from the -- from the death of Sergeant              12
                                                                        someone making the allegation?
 13
      Aguigui.                                                     13
                                                                           A. Possibly. It depends on what the exact
 14
         Q. When did you speak to Agent Toole about                14
                                                                        allegation was.
 15
      what he had said to the casualty affairs office?             15
                                                                           Q. Okay. Just to ask if it refreshes your
 16
         A. It would have been subsequent to my                    16
                                                                        recollection, do you recall a statement by Private
 17
      receiving a phone call from the CAO, because she had         17
                                                                        Aguigui reported by another person as being made that
 18
      told me about the payment and I had asked her what           18
                                                                        he had a CID agent in his pocket?
 19
      was annotated and she said that her annotation,              19
                                                                           A. I don't recall that.
 20
      whoever Mr. Toole talked to, was that he was not a           20
                                                                              MR. BROOK:             Let's mark this as
 21
      person of interest. And I said he was still, and I           21
                                                                           Exhibit 33.
 22
      talked to Mr. Toole and he said he told them that            22
                                                                              (Plaintiffs' Exhibit No. 33 marked
 23
      Private Aguigi was a person of interest.                     23
                                                                           for identification.)
 24
         Q. Did you make any judgment calls about                  24
                                                                        BY MR. BROOK:
 25
      whether Agent Toole was telling you the truth or not?        25
                                                                           Q. I'm showing you Exhibit 33, which bears


                                                              75                                                              77
  1
         A. I didn't doubt his word.                                1
                                                                        Bates numbers DA0001 through DA00012.
  2
         Q. Did you look into whether someone at the                2
                                                                               Do you recognize that document?
  3
      CAO had been potentially corrupted into making a              3
                                                                           A. No, sir.
  4
      payment that they should not have?                            4
                                                                           Q. Have you ever seen a document like this?
  5
         A. No.                                                     5
                                                                           A. Not exactly like this, no, sir.
  6
         Q. So what did you conclude about the reason               6
                                                                           Q. What have you seen that is similar to this?
  7
      why the payment was made?                                     7
                                                                           A. I'm trying to think if it looks like a
  8
         A. A miscommunication or an annotation that                8
                                                                        TALON report or something that the FBI would put out.
  9
      was incorrect on the -- on the CAO. I concluded it            9
                                                                        I don't recognize this, no.
 10
      was a misannotation from the CAO or misunderstanding         10
                                                                           Q. Okay. At the top right on the first page
 11
      of a person of interest.                                     11
                                                                        it has some sort of an emblem saying "CTD." Do you
 12
         Q. Did you personally ever speak with the                 12
                                                                        know what that may stand for?
 13
      person who had made the annotation for the CAO?              13
                                                                           A. No.
 14
         A. I remember at least one phone call with the            14
                                                                           Q. Below it says counter-terrorism assessment.
 15
      CAO, but I don't know if that was the same person            15
                                                                           A. Okay.
 16
      that talked with Mr. Toole. I only remember my               16
                                                                           Q. Does that mean anything to you?
 17
      conversation with one individual at the CAO.                 17
                                                                           A. I don't know who would have generated it.
 18
         Q. And what do you remember about the                     18
                                                                           Q. Turning to the last page, there's a black
 19
      individual that you spoke to?                                19
                                                                        bar referring to Sentinel uploads. Do you know what
 20
         A. I don't recall a name. I know it was a                 20
                                                                        Sentinel is?
 21
      female that I talked to, and I don't know -- for some        21
                                                                           A. I don't recall. I believe it's a database,
 22
      reason, I want to believe that she was not in                22
                                                                        but I don't recall.
 23
      Georgia, that she was out of state. But specifically         23
                                                                           Q. Do you know which agency maintains that
 24
      what I remember is telling her that she (sic) was a          24
                                                                        database?
 25
      person of interest, and then she looked back in her          25
                                                                           A. I'd say it should be the FBI, I believe. I




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Bauman, Donald                                                                              October 25, 2016
                                                                                       21 (Pages 78 to 81)
                                                       78                                                            80
  1
      don't recall.                                            1
                                                                   agents went with me.
  2
          Q. I don't have any more questions about that.       2
                                                                       Q. In this entry, does any of this entry sound
  3
              MR. BROOK:            Let's mark this Exhibit    3
                                                                   incorrect based upon what your knowledge was of
  4
          34.                                                  4
                                                                   Justin Kapinus's assessment of Aguigui at that time?
  5
              (Plaintiffs' Exhibit No. 34 marked               5
                                                                       A. No.
  6
          for identification.)                                 6
                                                                       Q. Do you have an understanding of why Justin
  7
      BY MR. BROOK:                                            7
                                                                   Kapinus characterized Aguigui as very intelligent and
  8
          Q. I'm showing you Exhibit 34, which you're          8
                                                                   deceptive?
  9
      seeing is Bates numbers JAHR0043521 through              9
                                                                           MS. JOHNSON:        Objection.
 10
      JAHR0043529.                                            10
                                                                           THE WITNESS:        I don't know his
 11
              Have you seen this document before?             11
                                                                       rationale.
 12
          A. This exact one or --                             12
                                                                   BY MR. BROOK:
 13
          Q. This case, it says --                            13
                                                                       Q. Did you ever discuss with Agent Kapinus at
 14
          A. Case activity summary. I'm familiar with         14
                                                                   or around the time of this entry, September 30th,
 15
      case activity summary, yes, but not this                15
                                                                   2011, whether Aguigui was a credible person?
 16
      investigation.                                          16
                                                                       A. I don't recall specific conversation about
 17
          Q. Okay. Do you know which CID office would         17
                                                                   that.
 18
      be CID 016?                                             18
                                                                       Q. How important is an experienced agent like
 19
          A. Not off the top of my head, no.                  19
                                                                   Justin Kapinus's assessment of a person's credibility
 20
          Q. Do different CID offices have access to          20
                                                                   to you?
 21
      case activity summaries that are generated by other     21
                                                                       A. I would trust his assessment.
 22
      offices?                                                22
                                                                       Q. Have you ever heard Agent Kapinus refer to
 23
          A. Yes.                                             23
                                                                   anyone as deceptive?
 24
          Q. At any point in time did you look at the         24
                                                                       A. Not that I recall.
 25
      case activity summary that was generated in             25
                                                                       Q. So it's not something he commonly


                                                       79                                                            81
  1
      connection with the Fort Lewis assistance on the         1
                                                                   characterizes people as being?
  2
      Aguigui gun purchases in Washington State?               2
                                                                          MS. JOHNSON:           Objection.
  3
           A. I don't recall.                                  3
                                                                      Mischaracterizes his testimony.
  4
            Q. If you would, please turn to the second         4
                                                                          THE WITNESS:           Not that I recall.
  5
      page of this document. There's an entry there that       5
                                                                          MR. BROOK:            Let's mark this as
  6
      I'll read aloud for the record. "Coordinated with SA     6
                                                                      Exhibit 35.
  7
      Justin Kapinus, Fort Stewart CID Office, who related     7
                                                                          (Plaintiffs' Exhibit No. 35 marked
  8
      that PFC Aguigui was a West Point dropout and is very    8
                                                                      for identification.)
  9
      intelligent and deceptive. He is not militant, but       9
                                                                   BY MR. BROOK:
 10
      undisciplined. He purchased security guard uniforms     10
                                                                      Q. What's been marked as Exhibit 35 is the CAO
 11
      and stated that he was going to open a security guard   11
                                                                   Staff Journal, Bates numbered JAHR0043386 through
 12
      business upon discharge from the Army."                 12
                                                                   JAHR0043515.
 13
              Does that refresh your recollection at all      13
                                                                          Have you ever seen this document before?
 14
      about who the other agent that you had involved with    14
                                                                      A. No, sir.
 15
      you on the Aguigui gun purchases matter was?            15
                                                                      Q. Have you seen a document like this before,
 16
           A. Like I said before, Agent Foxx and Agent        16
                                                                   a staff journal from the CAO?
 17
      Kapinus were the primary agents on -- on the cases      17
                                                                      A. From the CAO? No, not that I recall.
 18
      regarding Aguigui. Any other agents in the office, I    18
                                                                      Q. Is the staff journal a type of form that is
 19
      don't recall, that had direct involvement.              19
                                                                   used by groups or departments other than the CAO?
 20
            Q. I'm asking specifically, was Justin Kapinus    20
                                                                      A. Yes. General staff journals, yes.
 21
      the agent -- now having read this, do you recall        21
                                                                      Q. Okay. Are the staff journals of the CAO
 22
      whether he was the agent who went with you to speak     22
                                                                   available to or accessible to CID?
 23
      to Aguigui?                                             23
                                                                      A. We would have to go through the request
 24
           A. To the staff major? I don't remember. I         24
                                                                   process just like any other agency, but, yes, they
 25
      know I wasn't alone, but I don't remember which         25
                                                                   would be available.




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                                                                                           22 (Pages 82 to 85)
                                                       82                                                                 84
  1
          Q. But is it fair to say that it's not as            1
                                                                   of 2011 and this --
  2
      readily available as a CAS from another CID office?      2
                                                                       A. July --
  3
          A. Correct. They're a different agency.              3
                                                                       Q. -- is sent in November?
  4
          Q. For a CAS, do you need to put in any sort         4
                                                                       A. So, yes, that would be in line.
  5
      of request to see what another office has created?       5
                                                                       Q. And you may have already said this, but who
  6
          A. No. I have access to those on our                 6
                                                                   was, at the time, in December of 2011, the Benning
  7
      database.                                                7
                                                                   CID battalion operations officer?
  8
          Q. Would you please turn to what's marked on         8
                                                                       A. I believe it was still Larry Turso.
  9
      the bottom left-hand side of the page as Page 70 of      9
                                                                       Q. Would you please turn to Page 73 of 130?
 10
      130?                                                    10
                                                                       A. (Witness complies with the request of
 11
          A. (Witness complies with the request of            11
                                                                   counsel).
 12
      counsel).                                               12
                                                                       Q. And this is -- the second entry there is
 13
          Q. There's an entry in staff journal dated          13
                                                                   referring to something on December 15th, 2011, and it
 14
      November 30th, 2011, and it refers to a CID ROI         14
                                                                   says CID ROI, dated 14 December 2011, third status
 15
      dated, 29 November 2011, second status report. And      15
                                                                   report.
 16
      then it has a bunch of lines of text below that in      16
                                                                          Does this also look like the text of a CID
 17
      all caps.                                               17
                                                                   ROI to you?
 18
             Is this, as far as you can tell, text that       18
                                                                       A. Yes, it looks like it.
 19
      is taken directly from a CID ROI?                       19
                                                                       Q. Okay. It says, "This report identifies PFC
 20
          A. It appears to be, yes.                           20
                                                                   Aguigui as the subject of murder. The special agent
 21
          Q. And where are CID ROIs made available to         21
                                                                   in charge and the Benning CID Battalion Operations
 22
      the CAO that it would end up in this staff journal?     22
                                                                   Officer determined that there was more than
 23
          A. I don't know how they would have obtained a      23
                                                                   sufficient credible information to believe PFC
 24
      copy. I don't recall putting them on a distri line      24
                                                                   Aguigui murdered his wife and their unborn child."
 25
      when we sent it out. I don't know who would have        25
                                                                          I'm not going to read the rest. But what


                                                       83                                                                 85
  1
      provided them a copy.                                    1
                                                                   was it that -- let me first ask this: Is that a
  2
          Q. Was it common practice to provide ROIs to         2
                                                                   correct statement about what your opinion was at the
  3
      the CAO in connection with a death investigation?        3
                                                                   time, mid-December 2011?
  4
          A. Not to my knowledge, no.                          4
                                                                      A. Yes.
  5
          Q. Do you recall having provided an ROI to the       5
                                                                      Q. Okay. This was after having had a phone
  6
      CAO?                                                     6
                                                                   call with Larry Turso where you informed him, or you
  7
          A. I don't recall providing them a copy.             7
                                                                   convinced him, you say that he -- that there was not
  8
          Q. It says "second status report." So                8
                                                                   sufficient credible information earlier; is that
  9
      assuming that this text is the same thing as on a CID    9
                                                                   right?
 10
      ROI, what does it mean to be a second status report?    10
                                                                      A. Enough to list him as a subject, yes.
 11
          A. Well, the initial report would have been         11
                                                                      Q. Okay. So what was the new evidence that
 12
      sent out within 24 hours of the -- of the death, or     12
                                                                   you considered?
 13
      of us being reported of the death. That would be the    13
                                                                      A. I don't recall off the top of my head what
 14
      initial report. Any subsequent reports on top of        14
                                                                   transpired between November and December. I do just
 15
      that that weren't the leadership knowing would be a     15
                                                                   know it was a lot of just circumstantial evidence
 16
      second, third, fourth status reports. Any continuing    16
                                                                   that we had. It was just -- at the time it was
 17
      reports would be so numbered.                           17
                                                                   enough to get to the credible information threshold
 18
          Q. Is there any sort of time frame or               18
                                                                   and list him, but I don't recall off the top of my
 19
      guidelines in which you're supposed to issue a second   19
                                                                   head what the triggering mechanism -- or what the
 20
      status report after opening an ROI?                     20
                                                                   triggering information was that said, yes, we can put
 21
          A. On death investigations and serious sexual       21
                                                                   him in now.
 22
      assaults, generally after the initial report is sent    22
                                                                      Q. Okay. Was this text that you were involved
 23
      out, 120 days later we usually do an investigative      23
                                                                   in writing or reviewing before it was submitted?
 24
      update should be the second report.                     24
                                                                      A. Yes.
 25
          Q. So in this case, the death occurred in July      25
                                                                      Q. So at that point it wasn't just that you




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                                                                                          23 (Pages 86 to 89)
                                                         86                                                                88
  1
      met the credible information standard; there was more    1
                                                                      Q. So other than comparing 4 against Chapter
  2
      than sufficient credible information, right?             2
                                                                   16, is there any other way you would know that text
  3
         A. Yes.                                               3
                                                                   that's in Chapter 16 is also in Chapter 4?
  4
         Q. Did you ever speak with Sergeant First             4
                                                                      A. In the same regulation?
  5
      Class Lapsley?                                           5
                                                                      Q. Yes.
  6
         A. The name is familiar, but I don't recall.          6
                                                                      A. I guess I'm not understanding your
  7
         Q. The casualty assistance officer assigned to        7
                                                                   question. I thought -- that's what I meant.
  8
      Private Aguigui?                                         8
                                                                      Q. If someone was an outsider --
  9
         A. Okay.                                              9
                                                                      A. Yes.
 10
         Q. Does that ring a bell now?                        10
                                                                      Q. -- and trying to understand how CID does
 11
         A. I would have spoken with the casualty             11
                                                                   its job --
 12
      assistance officer that was assigned to him, but I      12
                                                                      A. Yes.
 13
      don't remember any specific conversations.              13
                                                                      Q. -- in a death investigation, would it be
 14
         Q. Are you familiar with the CID Regulation          14
                                                                   sufficient for that person to read Chapter 16 and
 15
      195-1?                                                  15
                                                                   nothing else?
 16
         A. Yes.                                              16
                                                                      A. No.
 17
         Q. Okay. Am I correct that it's Chapter 16-1         17
                                                                      Q. What else would you need to see?
 18
      that covers death investigations?                       18
                                                                      A. Like I said, you would need to do a
 19
         A. Chapter 16 covers deaths, yes.                    19
                                                                   holistic look at it, how we conduct an investigation.
 20
         Q. Are there any other chapters that are             20
                                                                   You know, like Chapter 5 deals with interviews and
 21
      relevant when you're conducting a death                 21
                                                                   the conduct of victim and subject interviews.
 22
      investigation?                                          22
                                                                   Chapter 8 would be the report-writing and how you
 23
         A. There are several that would be relevant to       23
                                                                   document. So you wouldn't be able to look at one
 24
      any case. Chapter 16 is specific for deaths and         24
                                                                   chapter and know how to investigate a death case from
 25
      specific actions, but Chapters 4 through 8 are          25
                                                                   start to finish, no.


                                                         87                                                                89
  1
      report-writing and how you document things and           1
                                                                       Q. And so the entire regulation is pretty
  2
      interviews of subjects and witnesses and things. So,     2
                                                                   huge; is that right?
  3
      yes, there are other chapters that are relevant.         3
                                                                       A. Yes.
  4
         Q. And is it correct that things that are             4
                                                                       Q. How often do you refer back to it in your
  5
      generally stated in some of those other chapters         5
                                                                   job?
  6
      would not be repeated in Chapter 16?                     6
                                                                       A. I would say for working, daily.
  7
        A. It could be.                                        7
                                                                       Q. In connection with death investigations, is
  8
        Q. It could be, but not necessarily?                   8
                                                                   it correct that the regulation specifies that the
  9
         A. I can't tell you for sure off the top of my        9
                                                                   manner of death is determined by the special agent in
 10
      head, but there are instances where, yes, the           10
                                                                   charge?
 11
      regulation does repeat itself word for word from one    11
                                                                           MS. JOHNSON:           You might need to give
 12
      chapter to another, so, yes, it could happen.           12
                                                                       him a regulation rather than asking him from
 13
         Q. Okay. And how would you determine whether         13
                                                                       memory.
 14
      there were different regulations between, say,          14
                                                                           MR. BROOK:           I'm just asking if he
 15
      Chapter 4 and Chapter 16?                               15
                                                                       knows.
 16
        A. Oh, I'm talking about the same regulation.         16
                                                                           THE WITNESS:           Well, a determination
 17
        Q. Oh, okay.                                          17
                                                                       is made in conjunction with the autopsy report
 18
         A. You're talking about, like, Chapter 16 may        18
                                                                       and the death certificate, what the cause and
 19
      be word for word from something from Chapter 4. Not     19
                                                                       manner would be. And normally how we word it
 20
      a different regulation, no. Sorry. I misunderstood      20
                                                                       is the determination is made by either the AFME
 21
      you.                                                    21
                                                                       or what's on the death certificate and we
 22
         Q. I understand then. I was misspeaking.             22
                                                                       concur with that decision, so...
 23
              So Chapter 4 might have something word for      23
                                                                   BY MR. BROOK:
 24
      word that's in Chapter 16?                              24
                                                                       Q. In the case of Deirdre Aguigui's death, at
 25
        A. Yes.                                               25
                                                                   the time when the SAC determined that her death was a




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                                                                                      24 (Pages 90 to 93)
                                                       90                                                           92
  1
      homicide, you were no longer the SAC at Fort Stewart;    1
                                                                   while. I don't recall their names.
  2
      is that right?                                           2
                                                                       Q. Do you know whether the CID regulation
  3
          A. In December of '12?                               3
                                                                   195-1 requires you to have face-to-face coordination
  4
          Q. When did --                                       4
                                                                   with the SJA?
  5
          A. I'm sorry.                                        5
                                                                       A. On certain cases, yes.
  6
          Q. When did -- do you know when Deirdre              6
                                                                       Q. And for death cases, is that the case?
  7
      Aguigui's death was declared a homicide?                 7
                                                                       A. Yes, when we're trying to get the opine,
  8
          A. It was after I left, yes.                         8
                                                                   the legal opinion, it requires face-to-face.
  9
          Q. So is it fair to say, then, that you did          9
                                                                       Q. And in this case, how was that requirement
 10
      not determine her manner of death to be a homicide as   10
                                                                   met?
 11
      the SAC --                                              11
                                                                       A. I don't recall. That would be a
 12
          A. I did not, no.                                   12
                                                                   determination before the case was closed, and I
 13
          Q. Okay. Were you asked to do so?                   13
                                                                   believe when I left the office the case was still
 14
          A. No. That would have been my predecessor.         14
                                                                   open.
 15
          Q. And that was Agent Toole?                        15
                                                                       Q. Going back to the time period after the
 16
          A. I'm sorry. The one that replaced me.             16
                                                                   deaths of Michael Roark and Tiffany York --
 17
          Q. Successor.                                       17
                                                                       A. Yes.
 18
          A. Yeah. Would have been Agent -- successor.        18
                                                                       Q. -- when GBI was conducting an investigation
 19
      Sorry. Yeah, it would have been Agent Yeatts,           19
                                                                   along with other agencies --
 20
      Y-E-A-T-T-S. Sorry.                                     20
                                                                       A. After the deaths.
 21
          Q. Do you --                                        21
                                                                       Q. -- did CID have an ROI for purposes of
 22
          A. When was the determination made? I can           22
                                                                   trying to identify possible insurgents or militants
 23
      tell you if I was at the office or not then.            23
                                                                   or terrorists within the Army?
 24
          Q. I --                                             24
                                                                       A. At the Fort Stewart office?
 25
          A. I don't recall.                                  25
                                                                       Q. Yes.


                                                       91                                                           93
  1
             MS. JOHNSON:          He doesn't know.            1
                                                                       A. No.
  2
      BY MR. BROOK:                                            2
                                                                       Q. Were you aware that -- or were you aware of
  3
          Q. I'm not -- yeah, I'm not going to testify         3
                                                                   whether any soldiers had indicated that there had
  4
      on that.                                                 4
                                                                   been sort of an antigovernment group formed within
  5
          A. Oh, sorry.                                        5
                                                                   the Army at Fort Stewart?
  6
          Q. If you don't recall making it, then that's        6
                                                                       A. Not that I recall.
  7
      fine for your testimony.                                 7
                                                                       Q. Is investigating extremism within the
  8
          A. When we listed him as the subject, that           8
                                                                   purview of CID?
  9
      would have been in December of 2011. I was -- I was      9
                                                                       A. Yes.
 10
      the SAC then. But I don't remember what the offense     10
                                                                       Q. Is there any other office within the Army
 11
      we used was at the time because there was still work    11
                                                                   or agency in the Army that would have responsibility
 12
      for several more months with -- in conjunction          12
                                                                   for investigating that?
 13
      with -- in cooperation with the GBI.                    13
                                                                       A. For the local area, would normally be the
 14
          Q. Did you ever speak with Isabel Pauly?            14
                                                                   local office.
 15
          A. I don't recall.                                  15
                                                                       Q. Of CID?
 16
          Q. Do you recall the names of anyone                16
                                                                       A. Yes.
 17
      associated with the State of Georgia, GBI or DA's       17
                                                                       Q. Okay. Do MPs investigate extremism?
 18
      office that you interacted with?                        18
                                                                       A. No. That should fall under CID's purview.
 19
          A. Specifically by name, no, I don't.               19
                                                                       Q. And just to be clear, to your knowledge,
 20
          Q. Did you interact with some people from           20
                                                                   there was never an extremism investigation that was
 21
      those offices?                                          21
                                                                   conducted by CID while you were SAC there regarding
 22
          A. Some, yes. There was two or three that           22
                                                                   people associated with (inaudible); is that right?
 23
      came down right after the -- the deaths. I don't        23
                                                                          THE COURT REPORTER: Associated with
 24
      remember their names. It was at least one male and      24
                                                                       what?
 25
      one female. And we worked with them closely for a       25
                                                                          MR. BROOK:         Isaac Aguigui.



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                                                                                                25 (Pages 94 to 96)
                                                              94                                                                96
  1
             (Thereupon, the court reporter requests                1
                                                                                        CERTIFICATE
  2
          clarification.)                                           2

  3
             THE WITNESS:         Correct.                          3
                                                                         STATE OF GEORGIA:
  4
        BY MR. BROOK:                                               4
                                                                         GEORGIA, PIERCE COUNTY:
  5
          Q. Okay.                                                  5

  6
             MR. BROOK:          Give me just one                   6
                                                                                I, Barbara J. Memory, Certified Court
  7
          second.                                                   7
                                                                         Reporter, State of Georgia, Certificate No. B-2063,
  8
             (Recess, 11:51 a.m.)                                   8
                                                                         CERTIFY that acting in such capacity, I reported the
  9
             (Reconvened, 11:43 a.m.)                               9
                                                                         testimony herein, and on the foregoing pages have
 10
             MR. BROOK:          No further questions by           10
                                                                         transcribed a true and correct transcript thereof. A
 11
          me.                                                      11
                                                                         review of the transcript was requested.
 12
             Kristin, anything you want to put on the              12
                                                                                I FURTHER CERTIFY that I am not counsel
 13
          record?                                                  13
                                                                         for, nor am I related to any party to the above case;
 14
             MS. JOHNSON:          No.                             14
                                                                         nor am I interested in the event or outcome.
 15
             MR. BROOK:          Thank you.                        15
                                                                                WITNESS my hand and official seal as
 16
             (Whereupon, there was an off-the-record               16
                                                                         Certified Court Reporter, State of Georgia,
 17
          discussion.)                                             17
                                                                         Certificate No. B-2063 this 1st day of November 2016.
 18
             MS. JOHNSON:          We'll read.                     18

 19
             (Thereupon, the deposition was concluded at           19

 20
          11:43 a.m. and signature was reserved.)                  20

 21                                                                21

 22
                            - - -                                  22

 23                                                                23
                                                                                          ____________________________
 24                                                                24
                                                                                          Barbara J. Memory, RPR, CCR
 25                                                                25
                                                                                          Certificate No. B-2063


                                                              95                                                                96
  1
                   DISCLOSURE                                       1
                                                                               ACKNOWLEDGMENT OF DEPONENT
  2
      STATE OF GEORGIA:                                             2
  3
      COUNTY OF PIERCE:
      Regulations of the Board of Court Reporting of the            3
  4
      Judicial Council of Georgia, I make the following             4
      disclosure:
  5
            I am a Georgia Certified Court Reporter and             5
                                                                              I, _______________________, do hereby
      Registered Professional Reporter, reporting for
  6
      Memory Reporting, Inc., P.O. Box 453, Blackshear,             6
                                                                        acknowledge that I have read and examined the
      Georgia 31516, 912.449.8486.
  7
                                                                    7
                                                                        foregoing testimony, and the same is a true, correct
            Memory Reporting, Inc. is not disqualified              8
                                                                        and complete transcription of the testimony given by
  8
      from a relationship of interest under the provisions
      of O.C.G.A. 9-11-28(c).
                                                                    9
                                                                        me, and any corrections appear on the attached Errata
  9                                                                10
                                                                        Sheet signed by me.
             Memory Reporting, Inc. was contacted by the
                                                                   11
 10
      offices of Henderson Legal Services to provide court
      reporting services for this deposition.                      12
 11

             Memory Reporting, Inc. will not be taking             13
 12
      this deposition under any contract that is prohibited        14
      by O.C.G.A. 15-14-37 (a) and (b).
 13                                                                15
             Memory Reporting, Inc. has no exclusive               16
 14
      contract to provide reporting services with any party
      to the case, any counsel in the case, or any reporter        17
                                                                        ____________      ___________________________________
 15
      or reporting agency from whom a referral might have
      been made to cover this deposition.                          18
                                                                            (DATE)              (SIGNATURE)
 16
                                                                   19
             Memory Reporting, Inc. will charge its
 17
      usual and customary rates to all parties in the case,        20

      and a financial discount will not be given to any            21
 18
      party to this litigation.
             A review of the transcript was requested.             22
 19
 20                                                                23
 21
                                                                   24
 22
 23
                      ___________________________                  25
 24
                      Barbara J. Memory, RPR, CCR                  26
 25
                      Certificate No. B-2063




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